                    Case 2:21-cr-00214-MCS Document 16-1 Filed 04/23/21 Page 1 of 72 Page ID #:80



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                           T: +1 424 204 7700
                       5   F: +1 424 204 7702
                       6   Attorneys for Defendant
                           Zachary Horwitz
                       7

                       8                         UNITED STATES DISTRICT COURT
                       9                        CENTRAL DISTRICT OF CALIFORNIA
                      10

                      11   UNITED STATES OF AMERICA,                     Case No. 2:21-MJ-01631
                      12                   Plaintiff,                    DECLARATION OF
                                                                         NATHANIEL WRIGHT IN
                      13         v.                                      SUPPORT OF EX PARTE
                                                                         APPLICATION FOR
                      14   ZACHARY JOSEPH HORWITZ,                       PERMISSION TO SELL ASSETS
                                                                         AND DEPOSIT NET PROCEEDS
                      15                   Defendant.                    OF SALE OF ASSETS WITH
                                                                         REGISTRY OF THE COURT
                      16
                                                                         Magistrate Judge Jean P. Rosenbluth
                      17
                                              DECLARATION OF NATHANIEL WRIGHT
                      18
                                 I, Nathaniel Wright, declare pursuant to 28 U.S.C. § 1726 as follows:
                      19
                                 1.     I am an attorney at law admitted to practice law in the State of
                      20
                           California and before the United States District Court for the Central District of
                      21
                           California. I am employed as an attorney at the law firm of Vedder Price (CA),
                      22
                           LLP, which is counsel of record for Defendant Zachary Horwitz (“Horwitz”) in this
                      23
                           case. I have personal knowledge of the facts set forth in this Declaration and, if
                      24
                           called and sworn as a witness, could and would competently testify thereto.
                      25
                                 2.     Attached hereto as Exhibit A is a true and correct copy of the Order
                      26
                           United States District Court Judge Christina Snyder issued on April 21, 2021 in a
                      27
                           separate action brought by the Securities and Exchange Commission (“SEC”)
                      28
VEDDER PRICE (CA), LLP
   ATTORNEYS AT LAW
                                                                                                      2:21-MJ-01631
      LOS ANGELES
                    Case 2:21-cr-00214-MCS Document 16-1 Filed 04/23/21 Page 2 of 72 Page ID #:81



                       1   against Horwitz in the United States District Court of the Central District of
                       2   California.
                       3         3.      Attached hereto as Exhibit B is a true and correct copy of the SEC’s
                       4   Joint Ex Parte Application for Limited Relief from Asset Freeze and to Deposit Net
                       5   Proceeds of Sale of Assets with Registry of the Court that was filed before Judge
                       6   Snyder. Attached to this SEC Application are true and correct copies of
                       7   Declarations by Kathryn Wanner and Mallory Horwitz.
                       8         4.      On April 23, 2021, counsel for Horwitz, including myself,
                       9   communicated this Ex Parte Application with counsel for the United States listed
                      10   below:
                      11

                      12                 Alexander B. Schwab
                      13                 Assistant United States Attorney
                      14                 1100 United States Courthouse
                      15                 Los Angeles, CA 90012
                      16                 213.894.1259
                      17                 Alexander.Schwab@usdoj.gov
                      18

                      19                 David Chao
                      20                 Assistant United States Attorney
                      21                 1100 United States Courthouse
                      22                 Los Angeles, CA 90012
                      23                 David.Chao@usdoj.gov
                      24

                      25         5.      After discussing this Ex Parte Application with counsel for the United
                      26   States, counsel for the United States indicated that the United States does not object
                      27   to permitting the sale of Horwitz’s home located at 9615 Bolton Road, Los
                      28   Angeles, CA 90034 (the “Bolton Road House”) with the net proceeds of the sale of
VEDDER PRICE (CA), LLP
   ATTORNEYS AT LAW
      LOS ANGELES
                                                                    -2-                               2:21-MJ-01631
                    Case 2:21-cr-00214-MCS Document 16-1 Filed 04/23/21 Page 3 of 72 Page ID #:82



                       1   the property to be deposited into the Court Registry Investment System (“CRIS”).
                       2         I declare under penalty of perjury under the laws of the United States of
                       3   America that the foregoing declaration in support of Horwitz’s Ex Parte
                       4   Application is true and correct.
                       5         Executed this 23rd day of April 2021 in Los Angeles, California.
                       6
                           Dated:       April 23, 2021                By:/s/ Nathaniel Wright
                       7                                                 Nathaniel Wright
                       8

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VEDDER PRICE (CA), LLP
   ATTORNEYS AT LAW
      LOS ANGELES
                                                                   -3-                               2:21-MJ-01631
Case 2:21-cr-00214-MCS Document 16-1 Filed 04/23/21 Page 4 of 72 Page ID #:83




                               Exhibit A
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      Case2:21-cv-02927-CAS-GJS
            2:21-cr-00214-MCS Document
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1      KATHRYN C. WANNER (Cal. Bar No. 269310)
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3
       Attorneys for Plaintiff
4      Securities and Exchange Commission
       Michele Wein Layne, Regional Director
5      Alka N. Patel, Associate Regional Director
       Amy J. Longo, Regional Trial Counsel
6      444 S. Flower Street, Suite 900
       Los Angeles, California 90071
7      Telephone: (323) 965-3998
       Facsimile: (213) 443-1904
8
9                             UNITED STATES DISTRICT COURT
10                          CENTRAL DISTRICT OF CALIFORNIA
11                                       Western Division
12
13       SECURITIES AND EXCHANGE                      Case No. 2:21-cv-02927-CAS-GJSx
         COMMISSION,
14                                                    [PROPOSED] ORDER ON EX PARTE
                      Plaintiff,                      APPLICATION FOR LIMITED
15                                                    RELIEF FROM ASSET FREEZE AND
               vs.                                    TO DEPOSIT NET PROCEEDS OF
16                                                    SALE OF ASSETS WITH REGISTRY
                                                      OF THE COURT
         ZACHARY J. HORWITZ; AND
17       1INMM CAPITAL, LLC,
18
                      Defendants.
19
20
21           This matter is before the Court on the Joint Ex Parte Application for Limited
22     Relief from the Asset Freeze and to Deposit Funds With the Registry of Court of
23     Plaintiff, the United States Securities and Exchange Commission (“SEC”) and
24     Defendants Zachary J. Horwitz (“Horwitz”) and 1inMM Capital, LLC (“1inMM”)
25     (collectively “the Parties”). Based on the Parties’ Joint Application and all the
26     records, filings, and proceedings herein, the Court hereby makes and files the
27     following:
28     ///
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1                                                ORDER
2            A.      The Parties’ Joint Ex Parte Application for Limited Relief from the
3      Asset Freeze and to Deposit Funds with the Court Registry is GRANTED.
4            B.      The Court’s Asset Freeze Order (Dkt. No. 18) shall be modified as
5      follows: The real property at 9615 Bolton Road Los Angeles, CA 90034 (the “Bolton
6      Road House”), is released from the asset freeze for the limited purpose of allowing it
7      to be sold.
8            C.      The net proceeds from the sale of the Bolton Road House shall be
9      deposited with the Registry of Court.
10           The Clerk of Court is hereby ORDERED to accept cash, a cashier’s check, or a
11     certified check, payable to the Clerk, U.S. District, in the amount of the net proceeds
12     from the sale of the Bolton Road House: $1,417,517.16.
13           IT IS FURTHER ORDERED that pursuant to General Order No. 16-04, these
14     monies be deposited by the Clerk of Court into the Registry of this Court and then, as
15     soon as the business of the Clerk’s Office allows, the Clerk of Court shall deposit
16     these funds into the interest-bearing Court Registry Investment System (“CRIS”)
17     administered by the Administrative Office of the United States Courts pursuant to 28
18     U.S.C. § 2045.
19           IT IS SO ORDERED.
20
       Dated: April 21, 2021                         _                        _____
21                                                   HON. CHRISTINA A. SNYDER
                                                     UNITED STATES DISTRICT JUDGE
22
23     Presented by:
24     Kathryn C. Wanner
       M. Lance Jasper
25     Attorneys for Plaintiff
       Securities and Exchange Commission
26
27
28

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Case 2:21-cr-00214-MCS Document 16-1 Filed 04/23/21 Page 7 of 72 Page ID #:86




                               Exhibit B
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       Email: jasperml@sec.gov
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       Attorneys for Plaintiff
4      Securities and Exchange Commission
       Michele Wein Layne, Regional Director
5      Alka N. Patel, Associate Regional Director
       Amy J. Longo, Regional Trial Counsel
6      444 S. Flower Street, Suite 900
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7      Telephone: (323) 965-3998
       Facsimile: (213) 443-1904
8
                             UNITED STATES DISTRICT COURT
9
                           CENTRAL DISTRICT OF CALIFORNIA
10
                                       Western Division
11
12       SECURITIES AND EXCHANGE                    Case No. 2:21-cv-02927-CAS-GJS
13       COMMISSION,
                                                    JOINT EX PARTE APPLICATION
14                   Plaintiff,                     FOR LIMITED RELIEF FROM
                                                    ASSET FREEZE AND TO DEPOSIT
15             vs.                                  NET PROCEEDS OF SALE OF
                                                    ASSETS WITH REGISTRY OF THE
16                                                  COURT
         ZACHARY J. HORWITZ; AND
17       1INMM CAPITAL, LLC,

18                   Defendants.

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1            By this Joint Ex Parte Application, Plaintiff, the United States Securities and
2      Exchange Commission (“SEC”) and Defendants Zachary J. Horwitz (“Horwitz”) and
3      1inMM Capital, LLC (“1inMM”), hereby request emergency relief from the Court for
4      (1) an Order granting limited relief from the Court’s April 6, 2021 Order Granting the
5      SEC’ Motion for and Order (1) Freezing Assets; (2) Requiring and Accounting; (3)
6      Prohibiting Destruction of Documents; and (4) To Set Hearing on Order to show
7      Cause (Dkt. No. 18) and (2) an Order directing the Clerk to deposit the net proceeds
8      of the sale of property into the Court Registry Investment System (“CRIS”). The
9      purpose of this Joint Application is to enable Horwitz to sell his home located at 9615
10     Bolton Road, Los Angeles, CA 90034 (the “Bolton Road House”). The net proceeds
11     from the sale of the Bolton Road House, which are estimated to be $1,417,517.16,
12     will be deposited in the CRIS to be held until further order from this Court.
13           The following paragraphs set forth the parties’ agreement as to the joint relief
14     sought.
15     I.    Description of Asset and Claims
16           This Joint Application involves the following asset, which is subject to the
17     Asset Freeze Order. Dkt. No. 18.
18           Horwitz and his wife purchased the Bolton Road house in March of 2018 in the
19     name of the MJLZ Trust. Dkt. No. 7 (Declaration of Lance Jasper in Support of the
20     SEC’s Motion for an Asset Freeze) at ¶¶ 23 and 38, Exs. 16 and 30. The SEC alleges
21     that in total, Horwitz transferred $5,727,776 in investor funds to purchase the home.
22     Dkt. No. 6 (Declaration of Lorraine Pearson in Support of the SEC’s Motion for an
23     Asset Freeze) at ¶ 28. The Bolton Road House is subject to the Court’s Asset Freeze
24     Order. Dkt. No. 18 at page 3.
25           At this time, the Bolton Road House is in escrow, with a closing date of April
26     21, 2021. Declaration of Kathryn Wanner (“Wanner Decl.”) at ¶¶ 2-4, Exs. 1 and 2.
27     The buyer for the Bolton Road House is willing to continue with the purchase of the
28     home and has offered $5,930,000 for the property. Wanner Decl. at ¶¶ 3 and 4, Ex. 3.

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1      The Bolton Road House was appraised on January 22, 2020, in connection with a
2      refinance, at $5,850,000, making the offer price $80,000 more than the third party
3      appraisal. Wanner Decl. at ¶ 5, Ex. 3.
4             According to the Seller’s Estimated Net Proceeds form prepared by Portfolio
5      Escrow, Inc., the total estimated net proceeds from the sale of the Bolton Road House
6      will be $1,417,517.16. Wanner Decl. at ¶ 6, Ex. 4.
7             As of this time, Horwitz and his wife have vacated the Bolton Road House but
8      continue to be responsible for making mortgage payments and paying for ongoing
9      upkeep and repair. Declaration of Mallory Horwitz (“M. Horwitz Decl.”) at ¶ 2. The
10     last mortgage payment was made on April 2, 2021. M. Horwitz Decl. at ¶ 3.
11     II.    LEGAL AUTHORITY
12            The purpose of an asset freeze is to “preserve the status quo by preventing
13     dissipation and diversion of assets.” SEC v. Infinity Grp. Co., 212 F.3d 180, 197 (3d
14     Cir. 2000); see SEC v. Hickey, 322 F.3d 1123, 1131 (9th Cir. 2003) (affirming asset
15     freeze over nonparty brokerage firm controlled by defendant to effectuate
16     disgorgement order against defendant). Concurrent with that authority is the
17     equitable authority to release frozen assets as needed. SEC v. Duclaud Gonzales de
18     Castilla, 170 F. Supp. 2d 427, 429 (S.D.N.Y. 2001) (the court has the “corollary
19     authority to release frozen personal assets, or lower the amount frozen.”)
20            In addition, Fed. R. Civ. P. 67 provides for the deposit of money with the Clerk
21     of the Court.
22     III.   Joint Relief Sought
23            In order to avoid the costs and uncertainties of allowing the Bolton Road
24     House to remain frozen, the parties have agreed to the following and seek the Court’s
25     approval of the same.
26            First, the Court will unfreeze the Bolton Road House, for the limited purpose
27     of allowing a sale of the home. Horwitz and his wife will sign any and all documents
28     as may be requested to assist in completing the sale of the property, title to which is

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1      held in the MJLX Trust, for which Horwitz and his wife are trustees.
2               Second, the net proceeds of the sale of the Bolton Road House will be
3      deposited in and held by the CRIS and remain under the jurisdiction of this Court,
4      pending a future order of this Court. See Fed. R. Civ. P. 67. Upon the disposition of
5      this matter, the parties will seek an appropriate order from this Court disbursing the
6      funds.
7               All other provisions of the Court’s prior orders shall remain in full force and
8      effect. This Court shall retain jurisdiction for the purpose of implementing and
9      carrying out the terms of this Joint Application and to entertain any suitable
10     application or motion for additional relief within the jurisdiction of the Court.
11              WHEREFORE, the SEC and the Defendants respectfully request that the Court
12     enter the attached Order.
13
14     Dated: April 21, 2021                           /s/ Kathryn C. Wanner
                                                       Kathryn C. Wanner
15                                                     Counsel for Plaintiff
                                                       Securities and Exchange Commission
16
17
       Dated: April 21, 2021                           /s/ Michael J. Quinn
18                                                      Michael J, Quinn
                                                        Marie E. Christiansen
19                                                      Vedder Price LLP
                                                        Counsel for Defendants
20                                                      Zachary J. Horwitz and 1inMM Capital,
                                                        LLC
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1                         LOCAL RULE 5-4.3.4(A)(2)(I) CERTIFICATION
2            Pursuant to L.R. L.R. 5-4.3.4(a)(2)(i), I, Kathryn C. Wanner, attest that all
3      signatories identified above, and on whose behalf the filing is submitted, concur in
4      the filing’s content and have authorized the filing.
5
6                                                    /s/ Kathryn C. Wanner
                                                     Kathryn C. Wanner
7                                                    Counsel for Plaintiff
                                                     Securities and Exchange Commission
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1                                     PROOF OF SERVICE
2      I am over the age of 18 years and not a party to this action. My business address is:
3            U.S. SECURITIES AND EXCHANGE COMMISSION,
             444 S. Flower Street, Suite 900, Los Angeles, California 90071
4            Telephone No. (323) 965-3998; Facsimile No. (213) 443-1904.
5      On April 21, 2021, I caused to be served the document entitled JOINT EX PARTE
       APPLICATION FOR LIMITED RELIEF FROM ASSET FREEZE AND TO
6      DEPOSIT NET PROCEEDS OF SALE OF ASSETS WITH REGISTRY OF
       THE COURT on all the parties to this action addressed as stated on the attached
7      service list:
8      ☐      OFFICE MAIL: By placing in sealed envelope(s), which I placed for
       collection and mailing today following ordinary business practices. I am readily
9      familiar with this agency’s practice for collection and processing of correspondence
       for mailing; such correspondence would be deposited with the U.S. Postal Service on
10     the same day in the ordinary course of business.
11           ☐      PERSONAL DEPOSIT IN MAIL: By placing in sealed envelope(s),
       which I personally deposited with the U.S. Postal Service. Each such envelope was
12     deposited with the U.S. Postal Service at Los Angeles, California, with first class
       postage thereon fully prepaid.
13
             ☐     EXPRESS U.S. MAIL: Each such envelope was deposited in a facility
14     regularly maintained at the U.S. Postal Service for receipt of Express Mail at Los
       Angeles, California, with Express Mail postage paid.
15
       ☐      HAND DELIVERY: I caused to be hand delivered each such envelope to the
16     office of the addressee as stated on the attached service list.
17     ☐     UNITED PARCEL SERVICE: By placing in sealed envelope(s) designated
       by United Parcel Service (“UPS”) with delivery fees paid or provided for, which I
18     deposited in a facility regularly maintained by UPS or delivered to a UPS courier, at
       Los Angeles, California.
19
       ☐      ELECTRONIC MAIL: By transmitting the document by electronic mail to
20     the electronic mail address as stated on the attached service list.
21     ☒    E-FILING: By causing the document to be electronically filed via the Court’s
       CM/ECF system, which effects electronic service on counsel who are registered with
22     the CM/ECF system.
23     ☐     FAX: By transmitting the document by facsimile transmission. The
       transmission was reported as complete and without error.
24
             I declare under penalty of perjury that the foregoing is true and correct.
25
26      Date: April 21, 2021                      /s/ Kathryn C. Wanner
                                                  KATHRYN C. WANNER
27
28

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1                                SEC v. Zachary Horwitz, et al.
                  United States District Court – Central District of California
2                             Case No. 2:21-cv-02927-CAS-GJS
                                           LA-5212
3
4                                       SERVICE LIST
5
                   Michael J. Quinn, Esq.
6                  Ryan C. Hedges, Esq.
                   Vedder Price
7                  1925 Century Park East, Suite 1900
                   Los Angeles, CA 90067
8                  Email: mquinn@vedderprice.com
                   Email: rhedges@vedderprice.com
9                  Attorneys for Defendants Zachary J. Horwitz; and 1inMM Capital, LLC
                   (served via CM/ECF)
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3
     Attorneys for Plaintiff
4    Securities and Exchange Commission
     Michele Wein Layne, Regional Director
5    Alka N. Patel, Associate Regional Director
     Amy J. Longo, Regional Trial Counsel
6    444 S. Flower Street, Suite 900
     Los Angeles, California 90071
7    Telephone: (323) 965-3998
     Facsimile: (213) 443-1904
8
                            UNITED STATES DISTRICT COURT
9
                          CENTRAL DISTRICT OF CALIFORNIA
10
                                      Western Division
11
12
       SECURITIES AND EXCHANGE                    Case No. 2:21-cv-02927-CAS-GJS
13
       COMMISSION,
                                                  DECLARATION OF KATHRYN C.
14                                                WANNER IN SUPPORT OF JOINT
                    Plaintiff,                    EX PARTE APPLICATION FOR
15                                                LIMITED RELIEF FROM ASSET
              vs.                                 FREEZE AND TO DEPOSIT NET
16                                                PROCEEDS OF SALE OF ASSETS
       ZACHARY J. HORWITZ; AND                    WITH REGISTRY OF THE COURT
17     1INMM CAPITAL, LLC,
18
                    Defendants,
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                                                           Page Page
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                                        #:2103



1                       DECLARATION OF KATHRYN C. WANNER
2             I, Kathryn C. Wanner, declare pursuant to 28 U.S.C. § 1746 as follows:
3             1.    I am an attorney at law admitted to practice law in the State of California
4    and before the United States District Court for the Central District of California. I am
5    employed as an attorney in the Los Angeles Regional Office of the U.S. Securities
6    and Exchange Commission (“SEC”), and am counsel of record for the SEC in this
7    case. I have personal knowledge of the facts set forth in this Declaration and, if
8    called and sworn as a witness, could and would competently testify thereto.
9             2.    Attached hereto as Exhibit 1 is a true and correct copy of a document
10   produced to the SEC by the buyer for the 9615 Bolton Road Los Angeles, CA 90034
11   (the “Bolton Road House”), showing escrow to close 30 days after acceptance of the
12   offer.
13            3.    Attached hereto as Exhibit 2 is a true and correct copy of a document
14   produced to the SEC by the buyer for Bolton Road House, showing acceptance of the
15   offer on March 22, 2021.
16            4.    I spoke to Carl Grumer, counsel for the proposed buyer for the Bolton
17   Road House on April 15, 2021 and he confirmed to me that the buyer for the Bolton
18   Road House would like to proceed with the purchase of the Bolton Road House at a
19   purchase price of $5,930,000 with an April 21, 2021 closing date.
20            5.    Attached hereto as Exhibit 3 is a true and correct copy of a document
21   produced to the SEC by Douglas Elliman, the seller’s brokerage firm for the “Bolton
22   Road House.
23   ///
24   ///
25   ///
26   ///
27   ///
28   ///

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                                                           Page Page
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                                        #:2104



1           6.    Attached hereto as Exhibit 4 is a true and correct copy of a document
2    produced to the SEC by Defendant Zachary Horwitz, titled Seller’s Estimated Net
3    Proceeds by Portfolio Escrow, Inc.
4           I declare under penalty of perjury under the laws of the United States of
5    America that the foregoing is true and correct.
6           Executed this 21st day of April 2021 in Los Angeles, California.
7
8                                                  /s/ Kathryn C. Wanner
9                                                  Kathryn C. Wanner

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          2:21-cv-02927-CAS-GJS
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                                           Filed 04/23/21
                                                 Filed 04/21/21
                                                           Page Page
                                                                18 of 72
                                                                      4 of Page
                                                                           53 Page
                                                                                ID #:97
                                                                                     ID
                                        #:2105



1                                    PROOF OF SERVICE
2    I am over the age of 18 years and not a party to this action. My business address is:
3           U.S. SECURITIES AND EXCHANGE COMMISSION,
            444 S. Flower Street, Suite 900, Los Angeles, California 90071
4           Telephone No. (323) 965-3998; Facsimile No. (213) 443-1904.
5    On April 21, 2021, I caused to be served the document entitled DECLARATION
     OF KATHRYN C. WANNER IN SUPPORT OF JOINT EX PARTE
6    APPLICATION FOR LIMITED RELIEF FROM ASSET FREEZE AND TO
     DEPOSIT NET PROCEEDS OF SALE OF ASSETS WITH REGISTRY OF
7    THE COURT on all the parties to this action addressed as stated on the attached
     service list:
8
     ☐      OFFICE MAIL: By placing in sealed envelope(s), which I placed for
9    collection and mailing today following ordinary business practices. I am readily
     familiar with this agency’s practice for collection and processing of correspondence
10   for mailing; such correspondence would be deposited with the U.S. Postal Service on
     the same day in the ordinary course of business.
11
           ☐      PERSONAL DEPOSIT IN MAIL: By placing in sealed envelope(s),
12   which I personally deposited with the U.S. Postal Service. Each such envelope was
     deposited with the U.S. Postal Service at Los Angeles, California, with first class
13   postage thereon fully prepaid.
14         ☐     EXPRESS U.S. MAIL: Each such envelope was deposited in a facility
     regularly maintained at the U.S. Postal Service for receipt of Express Mail at Los
15   Angeles, California, with Express Mail postage paid.
16   ☐      HAND DELIVERY: I caused to be hand delivered each such envelope to the
     office of the addressee as stated on the attached service list.
17
     ☐     UNITED PARCEL SERVICE: By placing in sealed envelope(s) designated
18   by United Parcel Service (“UPS”) with delivery fees paid or provided for, which I
     deposited in a facility regularly maintained by UPS or delivered to a UPS courier, at
19   Los Angeles, California.
20   ☐      ELECTRONIC MAIL: By transmitting the document by electronic mail to
     the electronic mail address as stated on the attached service list.
21
     ☒    E-FILING: By causing the document to be electronically filed via the Court’s
22   CM/ECF system, which effects electronic service on counsel who are registered with
     the CM/ECF system.
23
     ☐     FAX: By transmitting the document by facsimile transmission. The
24   transmission was reported as complete and without error.
25          I declare under penalty of perjury that the foregoing is true and correct.
26    Date: April 21, 2021                       /s/ Kathryn C. Wanner
27                                               KATHRYN C. WANNER
28

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     Case
     Case2:21-cr-00214-MCS
          2:21-cv-02927-CAS-GJS
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                                     16-1 27-1
                                           Filed 04/23/21
                                                 Filed 04/21/21
                                                           Page Page
                                                                19 of 72
                                                                      5 of Page
                                                                           53 Page
                                                                                ID #:98
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                                        #:2106



1                              SEC v. Zachary Horwitz, et al.
                United States District Court – Central District of California
2                           Case No. 2:21-cv-02927-CAS-GJS
                                         LA-5212
3
4                                      SERVICE LIST
5
                 Michael J. Quinn, Esq.
6                Ryan C. Hedges, Esq.
                 Vedder Price
7                1925 Century Park East, Suite 1900
                 Los Angeles, CA 90067
8                Email: mquinn@vedderprice.com
                 Email: rhedges@vedderprice.com
9                Attorneys for Defendants Zachary J. Horwitz; and 1inMM Capital, LLC
                 (served via CM/ECF)
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Case2:21-cr-00214-MCS
     2:21-cv-02927-CAS-GJS
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                                16-1 27-1
                                      Filed 04/23/21
                                            Filed 04/21/21
                                                      Page Page
                                                           20 of 72
                                                                 6 of Page
                                                                      53 Page
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                   EXHIBIT 1
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 Case2:21-cr-00214-MCS
      2:21-cv-02927-CAS-GJS
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                                       Filed 04/23/21
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                                                        Page 21
                                                             Page
                                                                of 72
                                                                    7 ofPage
                                                                        53 Page
                                                                             ID #:100
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                                                                    Exhibit 1 Page 5
Case
 Case2:21-cr-00214-MCS
      2:21-cv-02927-CAS-GJS
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                                 16-1 27-1
                                       Filed 04/23/21
                                              Filed 04/21/21
                                                        Page 22
                                                             Page
                                                                of 72
                                                                    8 ofPage
                                                                        53 Page
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                    EXHIBIT 2
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 Case2:21-cr-00214-MCS
      2:21-cv-02927-CAS-GJS
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                                 16-1 27-1
                                       Filed 04/23/21
                                              Filed 04/21/21
                                                        Page 23
                                                             Page
                                                                of 72
                                                                    9 ofPage
                                                                        53 Page
                                                                             ID #:102
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                                                                    Exhibit 2 Page 6
Case
Case2:21-cr-00214-MCS
     2:21-cv-02927-CAS-GJS
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                                16-1 27-1
                                      Filed 04/23/21
                                            Filed 04/21/21
                                                      Page Page
                                                           24 of 72
                                                                 10 ofPage
                                                                       53 Page
                                                                           ID #:103
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                                   #:2111




                                                                  Exhibit 2 Page 7
Case
Case2:21-cr-00214-MCS
     2:21-cv-02927-CAS-GJS
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                                16-1 27-1
                                      Filed 04/23/21
                                            Filed 04/21/21
                                                      Page Page
                                                           25 of 72
                                                                 11 ofPage
                                                                       53 Page
                                                                           ID #:104
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                                   #:2112




                    EXHIBIT 3
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Case2:21-cr-00214-MCS
     2:21-cv-02927-CAS-GJS
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                                16-1 27-1
                                      Filed 04/23/21
                                            Filed 04/21/21
                                                      Page Page
                                                           26 of 72
                                                                 12 ofPage
                                                                       53 Page
                                                                           ID #:105
                                                                                 ID
                                   #:2113




                      APPRAISAL OF REAL PROPERTY




                                              LOCATED AT
                                               9615 Bolton Rd
                                           Los Angeles, CA 90034
                                            Tract # 13492 Lot 10




                                                     FOR
                                              United Mortgage
                                          25 Melville Park Rd, #100
                                             Melville, NY 11747




                                        OPINION OF VALUE
                                                   5,850,000




                                                    AS OF
                                                  01/22/2020




                                                       BY
                                               Jared E. Harris
                                              Anchor Appraisals



                                                310-901-2565
                                            jared@anchoraps.com




                                                                                                  Serial# 3A104477
                     Form GA2V - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE    esign.alamode.com/verify

                                                                                                 Exhibit 3 Page 8
            Case
            Case2:21-cr-00214-MCS
                 2:21-cv-02927-CAS-GJS
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                                            16-1 27-1
                                                  Filed 04/23/21
                                                        Filed 04/21/21
                                                                  Page Page
                                                                       27 of 72
                                                                             13 ofPage
                                                                                   53 Page
                                                                                       ID #:106
                                                                                             ID
                                               #:2114
Borrower             Leslie Klinger                                                                                                                      File No. 2730120
Property Address     9615 Bolton Rd
City                 Los Angeles                                                      County Los Angeles                                      State CA            Zip Code 90034
Lender/Client        United Mortgage

  APPRAISAL AND REPORT IDENTIFICATION

    This Report is one of the following types:

           Appraisal Report        (A written report prepared under Standards Rule             2-2(a) , pursuant to the Scope of Work, as disclosed elsewhere in this report.)

           Restricted              (A written report prepared under Standards Rule        2-2(b) , pursuant to the Scope of Work, as disclosed elsewhere in this report,
           Appraisal Report        restricted to the stated intended use by the specified client or intended user.)




  Comments on Standards Rule 2-3
  I certify that, to the best of my knowledge and belief:
  - The statements of fact contained in this report are true and correct.
  - The reported analyses, opinions, and conclusions are limited only by the reported assumptions and limiting conditions and are my personal, impartial, and unbiased professional
  analyses, opinions, and conclusions.
  - Unless otherwise indicated, I have no present or prospective interest in the property that is the subject of this report and no personal interest with respect to the parties involved.
  - Unless otherwise indicated, I have performed no services, as an appraiser or in any other capacity, regarding the property that is the subject of this report within the three-year
  period immediately preceding acceptance of this assignment.
  - I have no bias with respect to the property that is the subject of this report or the parties involved with this assignment.
  - My engagement in this assignment was not contingent upon developing or reporting predetermined results.
  - My compensation for completing this assignment is not contingent upon the development or reporting of a predetermined value or direction in value that favors the cause of the
  client, the amount of the value opinion, the attainment of a stipulated result, or the occurrence of a subsequent event directly related to the intended use of this appraisal.
  - My analyses, opinions, and conclusions were developed, and this report has been prepared, in conformity with the Uniform Standards of Professional Appraisal Practice that
  were in effect at the time this report was prepared.
  - Unless otherwise indicated, I have made a personal inspection of the property that is the subject of this report.
  - Unless otherwise indicated, no one provided significant real property appraisal assistance to the person(s) signing this certification (if there are exceptions, the name of each
  individual providing significant real property appraisal assistance is stated elsewhere in this report).




  Reasonable Exposure Time                             (USPAP defines Exposure Time as the estimated length of time that the property interest being
  appraised would have been offered on the market prior to the hypothetical consummation of a sale at market value on the effective date of the appraisal.)
  My Opinion of Reasonable Exposure Time for the subject property at the market value stated in this report is:                                                  Adequate exposure
  for the subject is estimated at 45 days




  Comments on Appraisal and Report Identification
  Note any USPAP-related issues requiring disclosure and any state mandated requirements:




                                  esign.alamode.com/verify                Serial:3A104477
  APPRAISER:                                                                                        SUPERVISORY or CO-APPRAISER (if applicable):




  Signature:                                                                                        Signature:
  Name: Jared E. Harris                                                                             Name:

  State Certification #: AR037907                                                                   State Certification #:
  or State License #:                                                                               or State License #:
  State: CA           Expiration Date of Certification or License:      08/02/2021                  State:              Expiration Date of Certification or License:
  Date of Signature and Report: 01/29/2020                                                          Date of Signature:
  Effective Date of Appraisal: 01/22/2020
  Inspection of Subject:            None            Interior and Exterior      Exterior-Only        Inspection of Subject:            None           Interior and Exterior    Exterior-Only
  Date of Inspection (if applicable): 01/22/2020                                                    Date of Inspection (if applicable):
                                                                                                                                                          Serial# 3A104477
                                                         Form ID14E - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE                       esign.alamode.com/verify

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                            Case
                            Case2:21-cr-00214-MCS
                                 2:21-cv-02927-CAS-GJS
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                                                       Document
                                                            16-1   27-1
                                                                    Filed 04/23/21
                                                                              Filed 04/21/21
                                                              Anchor Appraisals
                                                                                        Page Page
                                                                                             28 of 72
                                                                                                   14 ofPage
                                                                                                         53 Page
                                                                                                             ID #:107
                                                                                                                   ID
                                                                #:2115
                                                                          Uniform Residential Appraisal Report                                        File # 2730120
               The purpose of this summary appraisal report is to provide the lender/client with an accurate, and adequately supported, opinion of the market value of the subject property.
               Property Address 9615 Bolton Rd                                                                           City Los Angeles                                  State CA       Zip Code 90034
               Borrower Leslie Klinger                                                       Owner of Public Record Mjlz Trust                                             County Los Angeles
               Legal Description Tract # 13492 Lot 10
               Assessor's Parcel # 4309-010-011                                                                          Tax Year 2018                                     R.E. Taxes $ 27,967
               Neighborhood Name Los Angeles                                                                             Map Reference 31084                               Census Tract 2695.00
SUBJECT




               Occupant         Owner          Tenant         Vacant                         Special Assessments $ 0                                           PUD    HOA $ 0              per year    per month
               Property Rights Appraised            Fee Simple           Leasehold            Other (describe)
               Assignment Type            Purchase Transaction              Refinance Transaction             Other (describe)
               Lender/Client     United Mortgage                                                Address 25 Melville Park Rd, #100, Melville, NY 11747
               Is the subject property currently offered for sale or has it been offered for sale in the twelve months prior to the effective date of this appraisal?                    Yes        No
               Report data source(s) used, offering price(s), and date(s).            DOM 0;Pocket Listing

               I      did        did not analyze the contract for sale for the subject purchase transaction. Explain the results of the analysis of the contract for sale or why the analysis was not
               performed.
CONTRACT




               Contract Price $                       Date of Contract                      Is the property seller the owner of public record?        Yes         No Data Source(s)
               Is there any financial assistance (loan charges, sale concessions, gift or downpayment assistance, etc.) to be paid by any party on behalf of the borrower?                                     Yes      No
               If Yes, report the total dollar amount and describe the items to be paid.



               Note: Race and the racial composition of the neighborhood are not appraisal factors.
                            Neighborhood Characteristics                                      One-Unit Housing Trends                                                   One-Unit Housing              Present Land Use %
               Location      Urban              Suburban           Rural          Property Values         Increasing           Stable             Declining            PRICE           AGE          One-Unit          80 %
               Built-Up      Over 75%           25-75%             Under 25%      Demand/Supply           Shortage             In Balance         Over Supply         $ (000)          (yrs)        2-4 Unit            5%
NEIGHBORHOOD




               Growth        Rapid              Stable             Slow           Marketing Time          Under 3 mths         3-6 mths              3,000 Low
                                                                                                                                                  Over 6 mths        0                              Multi-Family      10 %
               Neighborhood Boundaries          To the north by N Santa Monica Blvd, to the south by the 10 Fwy, to the west                         7,000 High     50                              Commercial          5%
               by the 405 Fwy, to the east by La Cienega Blvd.                                                                                       5,850 Pred.    25                              Other                  %
               Neighborhood Description         The subject is located in the city of Los Angeles, consisting predominantly of single family residences. The subject is
               located in close proximity to the 405 and 10 Fwy. The subjects location is convenient to local schools, public transportation, shopping, and most
               other public support facilities.
               Market Conditions (including support for the above conclusions)           The reported marketing time for properties in the subject's neighborhood is estimated at
               under 3 months, with property values remaining relatively stable. This information was provided by local realtors, and by the multiple listing
               service.
               Dimensions 150x59.39                                                       Area 8909 sf                               Shape Irregular             View N;Res;
               Specific Zoning Classification LAR1                                        Zoning Description Single Family Residence
               Zoning Compliance          Legal        Legal Nonconforming (Grandfathered Use)          No Zoning         Illegal (describe)
               Is the highest and best use of subject property as improved (or as proposed per plans and specifications) the present use?            Yes    No If No, describe

               Utilities         Public Other (describe)                                       Public Other (describe)                      Off-site Improvements - Type              Public     Private
               Electricity                                                      Water                                                       Street Asphalt
SITE




               Gas                                                              Sanitary Sewer                                              Alley None
               FEMA Special Flood Hazard Area               Yes          No FEMA Flood Zone X                   FEMA Map # 06037C1595G                                   FEMA Map Date 12/21/2018
               Are the utilities and off-site improvements typical for the market area?              Yes      No If No, describe
               Are there any adverse site conditions or external factors (easements, encroachments, environmental conditions, land uses, etc.)?                     Yes      No If Yes, describe
               Please see addendum for site comments.


                             General Description                                     Foundation                         Exterior Description               materials/condition Interior                  materials/condition
               Units       One      One with Accessory Unit            Concrete Slab             Crawl Space            Foundation Walls     Concrete/Good                         Floors         Hdwd/Marble/Good
               # of Stories          3                                 Full Basement             Partial Basement       Exterior Walls       WdSiding/Good                         Walls          Drywall/Good
               Type        Det.     Att.      S-Det./End Unit      Basement Area                             0 sq.ft.   Roof Surface         CompSh/Good                           Trim/Finish    Wd. Pnt/Good
                    Existing      Proposed        Under Const.     Basement Finish                           0    %     Gutters & Downspouts Yes/Good                              Bath Floor     Marble/Good
               Design (Style)        Trad                              Outside Entry/Exit           Sump Pump           Window Type          Vinyl/Good                            Bath Wainscot Marble/Good
               Year Built            2017                          Evidence of         Infestation                      Storm Sash/Insulated None/Yes/Gd                           Car Storage          None
               Effective Age (Yrs) 3                                   Dampness            Settlement                   Screens              Yes/Gd                                    Driveway     # of Cars    2
               Attic                        None                   Heating        FWA          HWBB          Radiant    Amenities                 Woodstove(s) # 0                 Driveway Surface        Concrete
                    Drop Stair              Stairs                     Other                 Fuel Gas                       Fireplace(s) # 1      Fence Wood                           Garage       # of Cars    2
                    Floor                   Scuttle                Cooling         Central Air Conditioning                 Patio/Deck Cover      Porch Cvrd                           Carport      # of Cars    0
                    Finished                Heated                     Individual                 Other                     Pool Pool/Spa         Other None                           Att.          Det.        Built-in
IMPROVEMENTS




               Appliances        Refrigerator       Range/Oven           Dishwasher           Disposal    Microwave              Washer/Dryer               Other (describe)
               Finished area above grade contains:                  10 Rooms                     5 Bedrooms                   7.1 Bath(s)                    7,561 Square Feet of Gross Living Area Above Grade
               Additional features (special energy efficient items, etc.).  None

               Describe the condition of the property (including needed repairs, deterioration, renovations, remodeling, etc.).                    C2;Kitchen-updated-six to ten years
               ago;Bathrooms-updated-six to ten years ago;See attached addendum




               Are there any physical deficiencies or adverse conditions that affect the livability, soundness, or structural integrity of the property?                             Yes       No If Yes, describe




               Does the property generally conform to the neighborhood (functional utility, style, condition, use, construction, etc.)?                           Yes          No If No, describe



 Freddie Mac Form 70 March 2005                                              UAD Version 9/2011              Page 1 of 6                                                           Fannie Mae Form 1004 March 2005

                                                                                                                                                                                  Serial# 3A104477
                                                                        Form 1004UAD - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE                              esign.alamode.com/verify

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                                        Case2:21-cr-00214-MCS
                                             2:21-cv-02927-CAS-GJS
                                                               Document
                                                                   Document
                                                                        16-1 27-1
                                                                              Filed 04/23/21
                                                                                    Filed 04/21/21
                                                                                              Page Page
                                                                                                   29 of 72
                                                                                                         15 ofPage
                                                                                                               53 Page
                                                                                                                   ID #:108
                                                                                                                         ID
                                                                           #:2116
                                                                                    Uniform Residential Appraisal Report                                                               File # 2730120
                            There are          5     comparable properties currently offered for sale in the subject neighborhood ranging in price from $ 4,050,000                               to $ 6,950,000               .
                            There are        25      comparable sales in the subject neighborhood within the past twelve months ranging in sale price from $ 4,050,000                                to $ 6,950,000              .
                                         FEATURE                        SUBJECT                      COMPARABLE SALE # 1                            COMPARABLE SALE # 2                          COMPARABLE SALE # 3
                            Address 9615 Bolton Rd                                         2250 Guthrie Cir                             3001 Cavendish Dr                              10295 Cresta Dr
                                         Los Angeles, CA 90034                             Los Angeles, CA 90034                        Los Angeles, CA 90064                          Los Angeles, CA 90064
                            Proximity to Subject                                           0.27 miles SE                                0.70 miles SW                                  0.59 miles SW
                            Sale Price                            $                                               $        6,000,000                             $        5,600,000                           $        6,700,000
                            Sale Price/Gross Liv. Area            $      210.91 sq.ft. $          661.67 sq.ft.                         $       712.65 sq.ft.                          $      754.25 sq.ft.
                            Data Source(s)                                                 CRMLS#18395806;DOM 36                        CRMLS#19500230;DOM 96                          CRMLS#18367242;DOM 77
                            Verification Source(s)                                         Doc#1267019                                  Doc#1374260                                    Doc#1031692
                            VALUE ADJUSTMENTS                         DESCRIPTION              DESCRIPTION          +(-) $ Adjustment         DESCRIPTION          +(-) $ Adjustment       DESCRIPTION          +(-) $ Adjustment
                            Sales or Financing                                             ArmLth                                       ArmLth                                         ArmLth
                            Concessions                                                    Conv;0                                       Conv;0                                         Conv;0
                            Date of Sale/Time                                              s12/18;c11/18                   +120,000 s12/19;c11/19                                      s10/18;c09/18                    +134,000
                            Location                              N;Res;                   N;Res;                                       N;Res;                                         N;Res;
                            Leasehold/Fee Simple                  Fee Simple               Fee Simple                                   Fee Simple                                     Fee Simple
                            Site                                  8909 sf                  8564 sf                                    0 8756 sf                                      0 11381 sf                           -17,300
                            View                                  N;Res;                   N;Res;                                       N;Res;                                         N;Res;
                            Design (Style)                        DT3;Trad                 DT3;Trad                                     DT3;Trad                                       DT1;Capecod                                0
                            Quality of Construction               Q2                       Q2                                           Q2                                             Q2
                            Actual Age                            3                        0                                          00                                             03
                            Condition                             C2                       C1                                         0 C1                                           0 C2
                            Above Grade                            Total Bdrms. Baths Total Bdrms. Baths                                 Total Bdrms. Baths                             Total Bdrms. Baths
                            Room Count                              10       5     7.1 13            8      8.2               -30,000 11            6       6.2             +10,000 13           8      8.1               -20,000
                            Gross Living Area                             7,561 sq.ft.             9,068 sq.ft.             -188,375              7,858 sq.ft.               -37,125           8,883 sq.ft.             -165,250
                            Basement & Finished                   0sf                      0sf                                          0sf                                            0sf
                            Rooms Below Grade
                            Functional Utility                    Average                  Average                                      Average                                        Average
SALES COMPARISON APPROACH




                            Heating/Cooling                       FAU/CAC                  FAU/CAC                                      FAU/CAC                                        FAU/CAC
                            Energy Efficient Items                None                     None                                         None                                           None
                            Garage/Carport                        2gbi2dw                  2gbi2dw                                      2gbi2dw                                        4ga4dw                             -20,000
                            Porch/Patio/Deck                      Covered patio            Balcony                                    0 Balcony/Cov                                  0 Covered patio
                            Fireplaces                            1 Fireplace              2 Fireplaces                       -10,000 3 Fireplaces                           -20,000 1 Fireplace
                            Pool                                  Pool/Spa                 Pool/Spa                                     None                              +150,000 Pool/Spa
                            Guest house                           None                     None                                         None                                           Cabana                             -50,000
                            Net Adjustment (Total)                                                 +          - $           -108,375              +           - $           102,875             +         - $           -138,550
                            Adjusted Sale Price                                           Net Adj.         1.8 %                        Net Adj.           1.8 %                       Net Adj.         2.1 %
                            of Comparables                                                Gross Adj.       5.8 % $         5,891,625 Gross Adj.            3.9 % $        5,702,875 Gross Adj.          6.1 % $        6,561,450
                            I       did        did not research the sale or transfer history of the subject property and comparable sales. If not, explain



                            My research          did        did not reveal any prior sales or transfers of the subject property for the three years prior to the effective date of this appraisal.
                            Data Source(s)       RealQuest, MLS
                            My research          did        did not reveal any prior sales or transfers of the comparable sales for the year prior to the date of sale of the comparable sale.
                            Data Source(s)       RealQuest, MLS
                            Report the results of the research and analysis of the prior sale or transfer history of the subject property and comparable sales (report additional prior sales on page 3).
                                              ITEM                                     SUBJECT                          COMPARABLE SALE #1                        COMPARABLE SALE #2                   COMPARABLE SALE #3
                            Date of Prior Sale/Transfer                 03/29/2018                               12/22/2016                                01/23/2017                              11/10/2015
                            Price of Prior Sale/Transfer                $5,712,000                               $0                                        $2,226,000                              $5,875,000
                            Data Source(s)                              CoreLogic                                CoreLogic                                 CoreLogic                               CoreLogic
                            Effective Date of Data Source(s)            01/22/2020                               01/22/2020                                01/22/2020                              01/22/2020
                            Analysis of prior sale or transfer history of the subject property and comparable sales                  The subject has not transferred ownership in the past 36 months, per
                            MLS, RealQuest. Comparable #3 has previously transferred ownership in the past 36 months, per RealQuest. These were noted to be quit claim
                            deed.




                            Summary of Sales Comparison Approach             Please see sales comparison comments in attached addendum




                            Indicated Value by Sales Comparison Approach $  5,850,000
                            Indicated Value by: Sales Comparison Approach $     5,850,000 Cost Approach (if developed) $ 5,854,932  Income Approach (if developed) $
                            Most consideration is given to the sales comparison approach as it best reflects the actions of buyers and seller in an open and competitive
                            market. The cost approach is considered accurate, but secondary. The income approach is not applicable due to the general lack of viable
RECONCILIATION




                            rental data.
                            This appraisal is made        "as is",       subject to completion per plans and specifications on the basis of a hypothetical condition that the improvements have been
                            completed,         subject to the following repairs or alterations on the basis of a hypothetical condition that the repairs or alterations have been completed, or subject to the
                            following required inspection based on the extraordinary assumption that the condition or deficiency does not require alteration or repair: The appraisal is completed "as is."

                            Based on a complete visual inspection of the interior and exterior areas of the subject property, defined scope of work, statement of assumptions and limiting
                            conditions, and appraiser's certification, my (our) opinion of the market value, as defined, of the real property that is the subject of this report is
                            $ 5,850,000 , as of                 01/22/2020           , which is the date of inspection and the effective date of this appraisal.
   Freddie Mac Form 70 March 2005                                                       UAD Version 9/2011            Page 2 of 6                                                      Fannie Mae Form 1004 March 2005

                                                                                                                                                                                      Serial# 3A104477
                                                                                   Form 1004UAD - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE                       esign.alamode.com/verify

                                                                                                                                                                                Exhibit 3 Page 11
                                 Case
                                 Case2:21-cr-00214-MCS
                                      2:21-cv-02927-CAS-GJS
                                                        Document
                                                            Document
                                                                 16-1 27-1
                                                                       Filed 04/23/21
                                                                             Filed 04/21/21
                                                                                       Page Page
                                                                                            30 of 72
                                                                                                  16 ofPage
                                                                                                        53 Page
                                                                                                            ID #:109
                                                                                                                  ID
                                                                    #:2117
                                                                               Uniform Residential Appraisal Report                                                           File # 2730120
                      Clarification of Intended Use and Intended User:

                      The Intended User of this appraisal report is the Lender/Client. The Intended Use is to evaluate the property that is the subject of this appraisal
                      for a mortgage finance transaction, subject to the stated Scope of Work, purpose of the appraisal, reporting requirements of this appraisal report
                      form, and Definition of Market Value. No additional Intended Users are identified by the appraiser.

                      The adequate market exposure time for the subject is 55 days.

                      The comparable search was expanded over the past 6 months, within a mile of the subject, GLA within 15% +/- of subject's overall gross living
                      area.

                      I have performed no (or the specified) services as an appraiser or in any other capacity, regarding the property that is the subject of this report
                      within the 3 year period immediately preceding acceptance of this assignment.• About SureDocs Signature
                      This appraisal report has been electronically signed using SureDocs by a la mode. It is as valid and legally enforceable as a wet ink signature on
                      paper. You can verify the authenticity of this report online at www.SureDocs.com/Validate.
ADDITIONAL COMMENTS




                                                                                         COST APPROACH TO VALUE (not required by Fannie Mae)
                      Provide adequate information for the lender/client to replicate the below cost figures and calculations.
                      Support for the opinion of site value (summary of comparable land sales or other methods for estimating site value)
                                                                                                                        The subject's land value is derived by the
                      abstraction method. No viable land sales were available at the time of the appraisal. The land value exceeds 30% which is typical for the
                      subjects market area and throughout Southern California.
COST APPROACH




                      ESTIMATED           REPRODUCTION OR          REPLACEMENT COST NEW                                  OPINION OF SITE VALUE                                                      =$       4,450,000
                      Source of cost data Local Builders/Marshall & Swift Cost Handbook                                  DWELLING                    7,561 Sq.Ft. @ $              150.00           =$       1,134,150
                      Quality rating from cost service Good         Effective date of cost data 2018                                                     0 Sq.Ft. @ $                               =$
                      Comments on Cost Approach (gross living area calculations, depreciation, etc.)                     Covpaito, pool, spa                                                        =$         300,000
                      Land value is derived by the abstraction method. Cost information is                               Garage/Carport                380 Sq.Ft. @ $               90.00           =$          34,200
                      derived by the Marshall & Swift residential cost handbook. Land to total                           Total Estimate of Cost-New                                                 =$       1,468,350
                      value ratio is considered typical of the subject's neighborhood. Physical                          Less              Physical        Functional        External
                      depreciation is based on age/life method. No external or functional                                Depreciation             73,418                                            =$(         73,418)
                      obsolescence noted.                                                                                Depreciated Cost of Improvements                                           =$       1,394,932
                                                                                                                         "As-is" Value of Site Improvements                                         =$          10,000

                      Estimated Remaining Economic Life (HUD and VA only)                                57 Years INDICATED VALUE BY COST APPROACH                          =$      5,854,932
                                                                                    INCOME APPROACH TO VALUE (not required by Fannie Mae)
INCOME




                      Estimated Monthly Market Rent $            0                X Gross Rent Multiplier             0          =$             0            Indicated Value by Income Approach
                      Summary of Income Approach (including support for market rent and GRM)              The income approach is not applicable to the general lack of viable rental data.

                                                                                             PROJECT INFORMATION FOR PUDs (if applicable)
                      Is the developer/builder in control of the Homeowners' Association (HOA)?                Yes       No      Unit type(s)        Detached          Attached
                      Provide the following information for PUDs ONLY if the developer/builder is in control of the HOA and the subject property is an attached dwelling unit.
                      Legal Name of Project
                      Total number of phases                             Total number of units                                Total number of units sold
PUD INFORMATION




                      Total number of units rented                       Total number of units for sale                       Data source(s)
                      Was the project created by the conversion of existing building(s) into a PUD?                 Yes       No If Yes, date of conversion.
                      Does the project contain any multi-dwelling units?              Yes        No Data Source
                      Are the units, common elements, and recreation facilities complete?                  Yes        No If No, describe the status of completion.



                      Are the common elements leased to or by the Homeowners' Association?                   Yes        No If Yes, describe the rental terms and options.

                      Describe common elements and recreational facilities.


  Freddie Mac Form 70 March 2005                                                  UAD Version 9/2011            Page 3 of 6                                                       Fannie Mae Form 1004 March 2005

                                                                                                                                                                                  Serial# 3A104477
                                                                              Form 1004UAD - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE                        esign.alamode.com/verify

                                                                                                                                                                         Exhibit 3 Page 12
          Case
          Case2:21-cr-00214-MCS
               2:21-cv-02927-CAS-GJS
                                 Document
                                     Document
                                          16-1 27-1
                                                Filed 04/23/21
                                                      Filed 04/21/21
                                                                Page Page
                                                                     31 of 72
                                                                           17 ofPage
                                                                                 53 Page
                                                                                     ID #:110
                                                                                           ID
                                             #:2118
                                          Uniform Residential Appraisal Report                                            File # 2730120

  This report form is designed to report an appraisal of a one-unit property or a one-unit property with an accessory unit;
  including a unit in a planned unit development (PUD). This report form is not designed to report an appraisal of a
  manufactured home or a unit in a condominium or cooperative project.

  This appraisal report is subject to the following scope of work, intended use, intended user, definition of market value,
  statement of assumptions and limiting conditions, and certifications. Modifications, additions, or deletions to the intended
  use, intended user, definition of market value, or assumptions and limiting conditions are not permitted. The appraiser may
  expand the scope of work to include any additional research or analysis necessary based on the complexity of this appraisal
  assignment. Modifications or deletions to the certifications are also not permitted. However, additional certifications that do
  not constitute material alterations to this appraisal report, such as those required by law or those related to the appraiser's
  continuing education or membership in an appraisal organization, are permitted.

  SCOPE OF WORK: The scope of work for this appraisal is defined by the complexity of this appraisal assignment and the
  reporting requirements of this appraisal report form, including the following definition of market value, statement of
  assumptions and limiting conditions, and certifications. The appraiser must, at a minimum: (1) perform a complete visual
  inspection of the interior and exterior areas of the subject property, (2) inspect the neighborhood, (3) inspect each of the
  comparable sales from at least the street, (4) research, verify, and analyze data from reliable public and/or private sources,
  and (5) report his or her analysis, opinions, and conclusions in this appraisal report.

  INTENDED USE:      The intended use of this appraisal report is for the lender/client to evaluate the property that is the
  subject of this appraisal for a mortgage finance transaction.

  INTENDED USER:        The intended user of this appraisal report is the lender/client.

  DEFINITION OF MARKET VALUE:          The most probable price which a property should bring in a competitive and open
  market under all conditions requisite to a fair sale, the buyer and seller, each acting prudently, knowledgeably and assuming
  the price is not affected by undue stimulus. Implicit in this definition is the consummation of a sale as of a specified date and
  the passing of title from seller to buyer under conditions whereby: (1) buyer and seller are typically motivated; (2) both
  parties are well informed or well advised, and each acting in what he or she considers his or her own best interest; (3) a
  reasonable time is allowed for exposure in the open market; (4) payment is made in terms of cash in U. S. dollars or in terms
  of financial arrangements comparable thereto; and (5) the price represents the normal consideration for the property sold
  unaffected by special or creative financing or sales concessions* granted by anyone associated with the sale.

  *Adjustments to the comparables must be made for special or creative financing or sales concessions. No adjustments are
  necessary for those costs which are normally paid by sellers as a result of tradition or law in a market area; these costs are
  readily identifiable since the seller pays these costs in virtually all sales transactions. Special or creative financing
  adjustments can be made to the comparable property by comparisons to financing terms offered by a third party institutional
  lender that is not already involved in the property or transaction. Any adjustment should not be calculated on a mechanical
  dollar for dollar cost of the financing or concession but the dollar amount of any adjustment should approximate the market's
  reaction to the financing or concessions based on the appraiser's judgment.

  STATEMENT OF ASSUMPTIONS AND LIMITING CONDITIONS:                              The appraiser's certification in this report is
  subject to the following assumptions and limiting conditions:

  1. The appraiser will not be responsible for matters of a legal nature that affect either the property being appraised or the title
  to it, except for information that he or she became aware of during the research involved in performing this appraisal. The
  appraiser assumes that the title is good and marketable and will not render any opinions about the title.

  2. The appraiser has provided a sketch in this appraisal report to show the approximate dimensions of the improvements.
  The sketch is included only to assist the reader in visualizing the property and understanding the appraiser's determination
  of its size.

  3. The appraiser has examined the available flood maps that are provided by the Federal Emergency Management Agency
  (or other data sources) and has noted in this appraisal report whether any portion of the subject site is located in an
  identified Special Flood Hazard Area. Because the appraiser is not a surveyor, he or she makes no guarantees, express or
  implied, regarding this determination.

  4. The appraiser will not give testimony or appear in court because he or she made an appraisal of the property in question,
  unless specific arrangements to do so have been made beforehand, or as otherwise required by law.

  5. The appraiser has noted in this appraisal report any adverse conditions (such as needed repairs, deterioration, the
  presence of hazardous wastes, toxic substances, etc.) observed during the inspection of the subject property or that he or
  she became aware of during the research involved in performing the appraisal. Unless otherwise stated in this appraisal
  report, the appraiser has no knowledge of any hidden or unapparent physical deficiencies or adverse conditions of the
  property (such as, but not limited to, needed repairs, deterioration, the presence of hazardous wastes, toxic substances,
  adverse environmental conditions, etc.) that would make the property less valuable, and has assumed that there are no such
  conditions and makes no guarantees or warranties, express or implied. The appraiser will not be responsible for any such
  conditions that do exist or for any engineering or testing that might be required to discover whether such conditions exist.
  Because the appraiser is not an expert in the field of environmental hazards, this appraisal report must not be considered as
  an environmental assessment of the property.

  6. The appraiser has based his or her appraisal report and valuation conclusion for an appraisal that is subject to satisfactory
  completion, repairs, or alterations on the assumption that the completion, repairs, or alterations of the subject property will
  be performed in a professional manner.




Freddie Mac Form 70 March 2005               UAD Version 9/2011        Page 4 of 6                                         Fannie Mae Form 1004 March 2005

                                                                                                                           Serial# 3A104477
                                         Form 1004UAD - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE      esign.alamode.com/verify

                                                                                                                        Exhibit 3 Page 13
          Case
          Case2:21-cr-00214-MCS
               2:21-cv-02927-CAS-GJS
                                 Document
                                     Document
                                          16-1 27-1
                                                Filed 04/23/21
                                                      Filed 04/21/21
                                                                Page Page
                                                                     32 of 72
                                                                           18 ofPage
                                                                                 53 Page
                                                                                     ID #:111
                                                                                           ID
                                             #:2119
                                         Uniform Residential Appraisal Report                                            File # 2730120


  APPRAISER'S CERTIFICATION:          The Appraiser certifies and agrees that:

  1. I have, at a minimum, developed and reported this appraisal in accordance with the scope of work requirements stated in
  this appraisal report.

  2. I performed a complete visual inspection of the interior and exterior areas of the subject property. I reported the condition
  of the improvements in factual, specific terms. I identified and reported the physical deficiencies that could affect the
  livability, soundness, or structural integrity of the property.

  3. I performed this appraisal in accordance with the requirements of the Uniform Standards of Professional Appraisal
  Practice that were adopted and promulgated by the Appraisal Standards Board of The Appraisal Foundation and that were in
  place at the time this appraisal report was prepared.

  4. I developed my opinion of the market value of the real property that is the subject of this report based on the sales
  comparison approach to value. I have adequate comparable market data to develop a reliable sales comparison approach
  for this appraisal assignment. I further certify that I considered the cost and income approaches to value but did not develop
  them, unless otherwise indicated in this report.

  5. I researched, verified, analyzed, and reported on any current agreement for sale for the subject property, any offering for
  sale of the subject property in the twelve months prior to the effective date of this appraisal, and the prior sales of the subject
  property for a minimum of three years prior to the effective date of this appraisal, unless otherwise indicated in this report.

  6. I researched, verified, analyzed, and reported on the prior sales of the comparable sales for a minimum of one year prior
  to the date of sale of the comparable sale, unless otherwise indicated in this report.

  7. I selected and used comparable sales that are locationally, physically, and functionally the most similar to the subject property.

  8. I have not used comparable sales that were the result of combining a land sale with the contract purchase price of a home that
  has been built or will be built on the land.

  9. I have reported adjustments to the comparable sales that reflect the market's reaction to the differences between the subject
  property and the comparable sales.

  10. I verified, from a disinterested source, all information in this report that was provided by parties who have a financial interest in
  the sale or financing of the subject property.

  11. I have knowledge and experience in appraising this type of property in this market area.

  12. I am aware of, and have access to, the necessary and appropriate public and private data sources, such as multiple listing
  services, tax assessment records, public land records and other such data sources for the area in which the property is located.

  13. I obtained the information, estimates, and opinions furnished by other parties and expressed in this appraisal report from
  reliable sources that I believe to be true and correct.

  14. I have taken into consideration the factors that have an impact on value with respect to the subject neighborhood, subject
  property, and the proximity of the subject property to adverse influences in the development of my opinion of market value. I
  have noted in this appraisal report any adverse conditions (such as, but not limited to, needed repairs, deterioration, the
  presence of hazardous wastes, toxic substances, adverse environmental conditions, etc.) observed during the inspection of the
  subject property or that I became aware of during the research involved in performing this appraisal. I have considered these
  adverse conditions in my analysis of the property value, and have reported on the effect of the conditions on the value and
  marketability of the subject property.

  15. I have not knowingly withheld any significant information from this appraisal report and, to the best of my knowledge, all
  statements and information in this appraisal report are true and correct.

  16. I stated in this appraisal report my own personal, unbiased, and professional analysis, opinions, and conclusions, which
  are subject only to the assumptions and limiting conditions in this appraisal report.

  17. I have no present or prospective interest in the property that is the subject of this report, and I have no present or
  prospective personal interest or bias with respect to the participants in the transaction. I did not base, either partially or
  completely, my analysis and/or opinion of market value in this appraisal report on the race, color, religion, sex, age, marital
  status, handicap, familial status, or national origin of either the prospective owners or occupants of the subject property or of the
  present owners or occupants of the properties in the vicinity of the subject property or on any other basis prohibited by law.

  18. My employment and/or compensation for performing this appraisal or any future or anticipated appraisals was not
  conditioned on any agreement or understanding, written or otherwise, that I would report (or present analysis supporting) a
  predetermined specific value, a predetermined minimum value, a range or direction in value, a value that favors the cause of
  any party, or the attainment of a specific result or occurrence of a specific subsequent event (such as approval of a pending
  mortgage loan application).

  19. I personally prepared all conclusions and opinions about the real estate that were set forth in this appraisal report. If I
  relied on significant real property appraisal assistance from any individual or individuals in the performance of this appraisal
  or the preparation of this appraisal report, I have named such individual(s) and disclosed the specific tasks performed in this
  appraisal report. I certify that any individual so named is qualified to perform the tasks. I have not authorized anyone to make
  a change to any item in this appraisal report; therefore, any change made to this appraisal is unauthorized and I will take no
  responsibility for it.

  20. I identified the lender/client in this appraisal report who is the individual, organization, or agent for the organization that
  ordered and will receive this appraisal report.


Freddie Mac Form 70 March 2005              UAD Version 9/2011        Page 5 of 6                                         Fannie Mae Form 1004 March 2005

                                                                                                                          Serial# 3A104477
                                        Form 1004UAD - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE      esign.alamode.com/verify

                                                                                                                       Exhibit 3 Page 14
          Case
          Case2:21-cr-00214-MCS
               2:21-cv-02927-CAS-GJS
                                 Document
                                     Document
                                          16-1 27-1
                                                Filed 04/23/21
                                                      Filed 04/21/21
                                                                Page Page
                                                                     33 of 72
                                                                           19 ofPage
                                                                                 53 Page
                                                                                     ID #:112
                                                                                           ID
                                             #:2120
                                           Uniform Residential Appraisal Report                                             File # 2730120

  21. The lender/client may disclose or distribute this appraisal report to: the borrower; another lender at the request of the
  borrower; the mortgagee or its successors and assigns; mortgage insurers; government sponsored enterprises; other
  secondary market participants; data collection or reporting services; professional appraisal organizations; any department,
  agency, or instrumentality of the United States; and any state, the District of Columbia, or other jurisdictions; without having to
  obtain the appraiser's or supervisory appraiser's (if applicable) consent. Such consent must be obtained before this appraisal
  report may be disclosed or distributed to any other party (including, but not limited to, the public through advertising, public
  relations, news, sales, or other media).

  22. I am aware that any disclosure or distribution of this appraisal report by me or the lender/client may be subject to certain
  laws and regulations. Further, I am also subject to the provisions of the Uniform Standards of Professional Appraisal Practice
  that pertain to disclosure or distribution by me.

  23. The borrower, another lender at the request of the borrower, the mortgagee or its successors and assigns, mortgage
  insurers, government sponsored enterprises, and other secondary market participants may rely on this appraisal report as part
  of any mortgage finance transaction that involves any one or more of these parties.

  24. If this appraisal report was transmitted as an "electronic record" containing my "electronic signature," as those terms are
  defined in applicable federal and/or state laws (excluding audio and video recordings), or a facsimile transmission of this
  appraisal report containing a copy or representation of my signature, the appraisal report shall be as effective, enforceable and
  valid as if a paper version of this appraisal report were delivered containing my original hand written signature.

  25. Any intentional or negligent misrepresentation(s) contained in this appraisal report may result in civil liability and/or
  criminal penalties including, but not limited to, fine or imprisonment or both under the provisions of Title 18, United States
  Code, Section 1001, et seq., or similar state laws.

  SUPERVISORY APPRAISER'S CERTIFICATION:                     The Supervisory Appraiser certifies and agrees that:

  1. I directly supervised the appraiser for this appraisal assignment, have read the appraisal report, and agree with the appraiser's
  analysis, opinions, statements, conclusions, and the appraiser's certification.

  2. I accept full responsibility for the contents of this appraisal report including, but not limited to, the appraiser's analysis, opinions,
  statements, conclusions, and the appraiser's certification.

  3. The appraiser identified in this appraisal report is either a sub-contractor or an employee of the supervisory appraiser (or the
  appraisal firm), is qualified to perform this appraisal, and is acceptable to perform this appraisal under the applicable state law.

  4. This appraisal report complies with the Uniform Standards of Professional Appraisal Practice that were adopted and
  promulgated by the Appraisal Standards Board of The Appraisal Foundation and that were in place at the time this appraisal
  report was prepared.

  5. If this appraisal report was transmitted as an "electronic record"             containing my "electronic signature," as those terms are
  defined in applicable federal and/or state laws (excluding audio and              video recordings), or a facsimile transmission of this
  appraisal report containing a copy or representation of my signature,              the appraisal report shall be as effective, enforceable and
  valid as if a paper version of this appraisal report were delivered               containing my original hand written signature.
                       esign.alamode.com/verify      Serial:3A104477


APPRAISER        Jared E. Harris                                                SUPERVISORY APPRAISER (ONLY IF REQUIRED)

Signature                                                                       Signature
Name Jared E. Harris                                                            Name
Company Name          Anchor Appraisals                                         Company Name
Company Address          17 Grassy Knoll Ln                                     Company Address
                         Rancho Santa Margarita, CA 92688
Telephone Number         310-901-2565                                           Telephone Number
Email Address       jared@anchoraps.com                                         Email Address
Date of Signature and Report          01/29/2020                                Date of Signature
Effective Date of Appraisal        01/22/2020                                   State Certification #
State Certification #      AR037907                                             or State License #
or State License #                                                              State
or Other (describe)                              State #                        Expiration Date of Certification or License
State CA
Expiration Date of Certification or License       08/02/2021                    SUBJECT PROPERTY

ADDRESS OF PROPERTY APPRAISED                                                         Did not inspect subject property
 9615 Bolton Rd
                                                                                      Did inspect exterior of subject property from street
                                                                                      Date of Inspection
 Los Angeles, CA 90034
APPRAISED VALUE OF SUBJECT PROPERTY $                                                 Did inspect interior and exterior of subject property
                                                        5,850,000
                                                                                      Date of Inspection
LENDER/CLIENT
Name Property Rate LLC
                                                                                COMPARABLE SALES
Company Name    United Mortgage
Company Address    25 Melville Park Rd, #100, Melville, NY 11747                      Did not inspect exterior of comparable sales from street
                                                                                      Did inspect exterior of comparable sales from street
Email Address                                                                         Date of Inspection



Freddie Mac Form 70 March 2005                UAD Version 9/2011        Page 6 of 6                                           Fannie Mae Form 1004 March 2005

                                                                                                                              Serial# 3A104477
                                          Form 1004UAD - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE        esign.alamode.com/verify

                                                                                                                         Exhibit 3 Page 15
                                       Case
                                       Case2:21-cr-00214-MCS
                                            2:21-cv-02927-CAS-GJS
                                                              Document
                                                                  Document
                                                                       16-1 27-1
                                                                             Filed 04/23/21
                                                                                   Filed 04/21/21
                                                                                             Page Page
                                                                                                  34 of 72
                                                                                                        20 ofPage
                                                                                                              53 Page
                                                                                                                  ID #:113
                                                                                                                        ID
                                                                          #:2121
                                                                                   Uniform Residential Appraisal Report                                                         File # 2730120
                                        FEATURE                     SUBJECT          COMPARABLE SALE # 4                                 COMPARABLE SALE # 5                            COMPARABLE SALE # 6
                            Address 9615 Bolton Rd                            2107 Duxbury Cir                                    2251 Guthrie Dr                   9325 Bolton Rd
                                         Los Angeles, CA 90034                Los Angeles, CA 90034                               Los Angeles, CA 90034             Los Angeles, CA 90034
                            Proximity to Subject                              0.13 miles E                                        0.35 miles SE                     0.26 miles E
                            Sale Price                   $                                       $        4,450,000                                  $    5,500,000                    $        4,500,000
                            Sale Price/Gross Liv. Area   $      210.91 sq.ft. $    638.08 sq.ft.                                  $    800.35 sq.ft.                $    780.57 sq.ft.
                            Data Source(s)                                    CRMLS#19502074;DOM 76                               CRMLS#19418496;DOM 50             CRMLS#19536062;DOM 1
                            Verification Source(s)                            Doc#1182769                                         Doc#167170                        Doc#1364637
                            VALUE ADJUSTMENTS                DESCRIPTION         DESCRIPTION       +(-) $ Adjustment                 DESCRIPTION +(-) $ Adjustment     DESCRIPTION       +(-) $ Adjustment
                            Sales or Financing                                ArmLth                                              ArmLth                            ArmLth
                            Concessions                                       Conv;0                                              Conv;0                            Conv;0
                            Date of Sale/Time                                 s11/19;c11/19                                       s02/19;c02/19                     s12/19;c12/19
                            Location                     N;Res;               N;Res;                                              N;Res;                            N;Res;
SALES COMPARISON APPROACH




                            Leasehold/Fee Simple         Fee Simple           Fee Simple                                          Fee Simple                        Fee Simple
                            Site                         8909 sf              9492 sf                                0            7718 sf                   +8,300 6438 sf                        +17,300
                            View                         N;Res;               N;Res;                                              N;Res;                            N;Res;
                            Design (Style)               DT3;Trad             DT2;Trad                               0            DT3;Trad                          DT3;Capecod                            0
                            Quality of Construction      Q2                   Q2                                                  Q2                                Q2
                            Actual Age                   3                    23                                     0            1                                02                                      0
                            Condition                    C2                   C3                          +250,000                C2                                C2
                            Above Grade                   Total Bdrms. Baths Total Bdrms. Baths                                    Total Bdrms. Baths                           Total Bdrms. Baths
                            Room Count                     10      5    7.1 11        6    5.1              +40,000                 11      6   6.2                 +10,000 11    6   7.0                        +10,000
                            Gross Living Area                    7,561 sq.ft.       6,974 sq.ft.            +73,375                       6,872 sq.ft.              +86,125     5,765 sq.ft.                    +224,500
                            Basement & Finished          0sf                  0sf                                                 0sf                                       0sf
                            Rooms Below Grade
                            Functional Utility           Average              Average                                                     Average                                        Average
                            Heating/Cooling              FAU/CAC              FAU/CAC                                                     FAU/CAC                                        FAU/CAC
                            Energy Efficient Items       None                 None                                                        None                                           None
                            Garage/Carport               2gbi2dw              2gbi2dw                                                     2gbi2dw                                        2gbi2dw
                            Porch/Patio/Deck             Covered patio        Balcony                                0                    Covered patio                                  Slab                          +5,000
                            Fireplaces                            1 Fireplace             1 Fireplace                                     4 Fireplaces                       -30,000 1 Fireplace
                            Pool                                  Pool/Spa                Pool/Spa                                        Pool/Spa                                       Pool                         +25,000
                            Guest house                           None                    None                                            None                                           None
                            Net Adjustment (Total)                                                 +         - $              363,375              +       - $                74,425              +       - $         281,800
                            Adjusted Sale Price                                           Net Adj.        8.2 %                           Net Adj.      1.4 %                            Net Adj.       6.3 %
                            of Comparables                                                Gross Adj.      8.2 % $          4,813,375 Gross Adj.         2.4 % $          5,574,425 Gross Adj.           6.3 % $     4,781,800
                            Report the results of the research and analysis of the prior sale or transfer history of the subject property and comparable sales (report additional prior sales on page 3).
                                              ITEM                                     SUBJECT                         COMPARABLE SALE # 4                   COMPARABLE SALE # 5                      COMPARABLE SALE # 6
                            Date of Prior Sale/Transfer                 03/29/2018                              08/07/1995                             04/25/2016                                02/10/2016
                            Price of Prior Sale/Transfer                $5,712,000                              $510,000                               $1,575,000                                $1,760,000
SALE HISTORY




                            Data Source(s)                              CoreLogic                               CoreLogic                              CoreLogic                                 CoreLogic
                            Effective Date of Data Source(s)            01/22/2020                              01/22/2020                             01/22/2020                                01/22/2020
                            Analysis of prior sale or transfer history of the subject property and comparable sales




                            Analysis/Comments
ANALYSIS / COMMENTS




   Freddie Mac Form 70 March 2005                                                                             UAD Version 9/2011                                                  Fannie Mae Form 1004 March 2005


                                                                                                                                                                                 Serial# 3A104477
                                                                              Form 1004UAD.(AC) - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE                  esign.alamode.com/verify

                                                                                                                                                                           Exhibit 3 Page 16
                                       Case
                                       Case2:21-cr-00214-MCS
                                            2:21-cv-02927-CAS-GJS
                                                              Document
                                                                  Document
                                                                       16-1 27-1
                                                                             Filed 04/23/21
                                                                                   Filed 04/21/21
                                                                                             Page Page
                                                                                                  35 of 72
                                                                                                        21 ofPage
                                                                                                              53 Page
                                                                                                                  ID #:114
                                                                                                                        ID
                                                                          #:2122
                                                                                   Uniform Residential Appraisal Report                                              File # 2730120
                                        FEATURE                      SUBJECT          COMPARABLE SALE # 7                                 COMPARABLE SALE # 8                COMPARABLE SALE # 9
                            Address 9615 Bolton Rd                            3160 Cavendish Dr                                    9739 Monte Mar Dr
                                         Los Angeles, CA 90034                Los Angeles, CA 90064                                Los Angeles, CA 90035
                            Proximity to Subject                              0.93 miles SW                                        0.34 miles NW
                            Sale Price                   $                                       $        6,750,000                                   $    4,299,000                     $
                            Sale Price/Gross Liv. Area   $      210.91 sq.ft. $ 1050.09 sq.ft.                                     $    845.93 sq.ft.                $            sq.ft.
                            Data Source(s)                                    CRMLS#20539766;DOM 21                                 CRMLS#19525668;DOM 84
                            Verification Source(s)                            No Doc Selected                                       No Doc Selected
                            VALUE ADJUSTMENTS                DESCRIPTION         DESCRIPTION       +(-) $ Adjustment                   DESCRIPTION  +(-) $ Adjustment                DESCRIPTION           +(-) $ Adjustment
                            Sales or Financing                                Listing                                               Listing
                            Concessions
                            Date of Sale/Time                                 Active                                                Active
                            Location                     N;Res;               N;Res;                                                N;Res;
SALES COMPARISON APPROACH




                            Leasehold/Fee Simple         Fee Simple           Fee Simple                                            Fee Simple
                            Site                         8909 sf              9544 sf                                0              7241 sf                           +11,700
                            View                         N;Res;               N;Res;                                                N;Res;
                            Design (Style)               DT3;Trad             DT3;Trad                                              DT1;Trad                                   0
                            Quality of Construction      Q2                   Q2                                                    Q2
                            Actual Age                   3                    0                                      0              13                                     0
                            Condition                    C2                   C2                                                    C3                              +250,000
                            Above Grade                   Total Bdrms. Baths Total Bdrms. Baths                                     Total Bdrms. Baths                             Total Bdrms. Baths
                            Room Count                     10      5    7.1 11        6    7.1                       0               10      5   5.1                 +40,000
                            Gross Living Area                    7,561 sq.ft.       6,428 sq.ft.          +141,625                         5,082 sq.ft.             +309,875                      sq.ft.
                            Basement & Finished          0sf                  0sf                                                   0sf
                            Rooms Below Grade
                            Functional Utility           Average              Average                                                     Average
                            Heating/Cooling              FAU/CAC              FAU/CAC                                                     FAU/CAC
                            Energy Efficient Items       None                 None                                                        None
                            Garage/Carport               2gbi2dw              2ga2dw                                 0                    2ga2dw                                      0
                            Porch/Patio/Deck             Covered patio        Covered patio                                               Balcony                                     0
                            Fireplaces                            1 Fireplace             3 Fireplaces                        -20,000 3 Fireplaces                           -20,000
                            Pool                                  Pool/Spa                None                              +150,000 None                                 +150,000
                            Guest house                           None                    None                                            None
                            Net Adjustment (Total)                                                 +         - $              271,625              +       - $              741,575               +       - $
                            Adjusted Sale Price                                           Net Adj.        4.0 %                           Net Adj.    17.2  %                            Net Adj.          %
                            of Comparables                                                Gross Adj.      4.6 % $          7,021,625 Gross Adj. 18.2 % $                 5,040,575 Gross Adj.              % $
                            Report the results of the research and analysis of the prior sale or transfer history of the subject property and comparable sales (report additional prior sales on page 3).
                                              ITEM                                     SUBJECT                         COMPARABLE SALE # 7                   COMPARABLE SALE # 8                      COMPARABLE SALE # 9
                            Date of Prior Sale/Transfer                 03/29/2018                              06/05/2017                             08/17/2010
                            Price of Prior Sale/Transfer                $5,712,000                              $2,300,000                             $2,475,000
SALE HISTORY




                            Data Source(s)                              CoreLogic                               CoreLogic                              CoreLogic
                            Effective Date of Data Source(s)            01/22/2020                              01/22/2020                             01/22/2020
                            Analysis of prior sale or transfer history of the subject property and comparable sales




                            Analysis/Comments
ANALYSIS / COMMENTS




   Freddie Mac Form 70 March 2005                                                                              UAD Version 9/2011                                                   Fannie Mae Form 1004 March 2005


                                                                                                                                                                                   Serial# 3A104477
                                                                               Form 1004UAD.(AC) - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE                   esign.alamode.com/verify

                                                                                                                                                                             Exhibit 3 Page 17
                                    Case
                                    Case2:21-cr-00214-MCS
                                         2:21-cv-02927-CAS-GJS
                                                           Document
                                                               Document
                                                                    16-1 27-1
                                                                          Filed 04/23/21
                                                                                Filed 04/21/21
                                                                                          Page Page
                                                                                               36 of 72
                                                                                                     22 ofPage
                                                                                                           53 Page
                                                                                                               ID #:115
                                                                                                                     ID
                                                                       #:2123
                                                                        Market Conditions Addendum to the Appraisal Report                                                               File No. 2730120
                             The purpose of this addendum is to provide the lender/client with a clear and accurate understanding of the market trends and conditions prevalent in the subject
                             neighborhood. This is a required addendum for all appraisal reports with an effective date on or after April 1, 2009.
                             Property Address         9615 Bolton Rd                                                            City Los Angeles                                 State CA           ZIP Code 90034
                             Borrower Leslie Klinger
                             Instructions: The appraiser must use the information required on this form as the basis for his/her conclusions, and must provide support for those conclusions, regarding
                             housing trends and overall market conditions as reported in the Neighborhood section of the appraisal report form. The appraiser must fill in all the information to the extent
                             it is available and reliable and must provide analysis as indicated below. If any required data is unavailable or is considered unreliable, the appraiser must provide an
                             explanation. It is recognized that not all data sources will be able to provide data for the shaded areas below; if it is available, however, the appraiser must include the data
                             in the analysis. If data sources provide the required information as an average instead of the median, the appraiser should report the available figure and identify it as an
                             average. Sales and listings must be properties that compete with the subject property, determined by applying the criteria that would be used by a prospective buyer of the
                             subject property. The appraiser must explain any anomalies in the data, such as seasonal markets, new construction, foreclosures, etc.
                             Inventory Analysis                                              Prior 7–12 Months            Prior 4–6 Months            Current – 3 Months                            Overall Trend
                             Total # of Comparable Sales (Settled)                                   11                            9                            5                    Increasing        Stable      Declining
                             Absorption Rate (Total Sales/Months)                                   1.83                         3.00                         1.67                   Increasing        Stable      Declining
                             Total # of Comparable Active Listings                                   22                           12                            5                    Declining         Stable      Increasing
                             Months of Housing Supply (Total Listings/Ab.Rate)                      12.0                         4.0                           3.0                   Declining         Stable      Increasing
                             Median Sale & List Price, DOM, Sale/List %                      Prior 7–12 Months            Prior 4–6 Months            Current – 3 Months                            Overall Trend
                             Median Comparable Sale Price                                       5,474,000                   5,523,000                     5,569,000                  Increasing        Stable      Declining
                             Median Comparable Sales Days on Market                                  73                           69                           55                    Declining         Stable      Increasing
                             Median Comparable List Price                                                                                                                            Increasing        Stable      Declining
MARKET RESEARCH & ANALYSIS




                                                                                                5,474,000                   5,523,000                     5,569,000
                             Median Comparable Listings Days on Market                               145                         124                           111                   Declining         Stable      Increasing
                             Median Sale Price as % of List Price                                    100                         100                           100                   Increasing        Stable      Declining
                             Seller-(developer, builder, etc.)paid financial assistance prevalent?              Yes           No                                                     Declining         Stable      Increasing
                             Explain in detail the seller concessions trends for the past 12 months (e.g., seller contributions increased from 3% to 5%, increasing use of buydowns, closing costs, condo
                             fees, options, etc.).         The seller concession trends have increased from 3% to 5% in the past year. However, this is typical for the subject's
                             market. There is no adverse effect on marketability noted.




                             Are foreclosure sales (REO sales) a factor in the market?
                                                                               Yes      No    If yes, explain (including the trends in listings and sales of foreclosed properties).
                             There is a limited number of REO/Foreclosures in the subject's market. (Under 10%).




                             Cite data sources for above information.         MLS, Zillow.com, DQnews.com, Local Agents


                             Summarize the above information as support for your conclusions in the Neighborhood section of the appraisal report form. If you used any additional information, such as
                             an analysis of pending sales and/or expired and withdrawn listings, to formulate your conclusions, provide both an explanation and support for your conclusions.
                             The subject's market is stable with supply and demand remaining stable with a marketing time of under 3 months.




                             If the subject is a unit in a condominium or cooperative project , complete the following:                                           Project Name:
                             Subject Project Data                                         Prior 7–12 Months           Prior 4–6 Months            Current – 3 Months                              Overall Trend
                             Total # of Comparable Sales (Settled)                                                                                                                Increasing         Stable           Declining
                             Absorption Rate (Total Sales/Months)                                                                                                                 Increasing         Stable           Declining
                             Total # of Active Comparable Listings                                                                                                                Declining          Stable           Increasing
                             Months of Unit Supply (Total Listings/Ab.Rate)                                                                                                       Declining          Stable           Increasing
                             Are foreclosure sales (REO sales) a factor in the project?            Yes           No     If yes, indicate the number of REO listings and explain the trends in listings and sales of
CONDO/CO-OP PROJECTS




                             foreclosed properties.




                             Summarize the above trends and address the impact on the subject unit and project.



                                                           esign.alamode.com/verify                Serial:3A104477




                             Signature                                                                   Signature
                             Appraiser Name        Jared E. Harris                                       Supervisory Appraiser Name
APPRAISER




                             Company Name          Anchor Appraisals                                     Company Name
                             Company Address                                                             Company Address
                                                       17 Grassy Knoll Ln, Rancho Santa Margarita, CA 92688
                             State License/Certification # AR037907                 State CA             State License/Certification #                                                               State
                             Email Address      jared@anchoraps.com                                                             Email Address
                                Freddie Mac Form 71 March 2009                                                 Page 1 of 1                                              Fannie Mae Form 1004MC March 2009

                                                                                                                                                                                       Serial# 3A104477
                                                                               Form 1004MC2 - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE                            esign.alamode.com/verify

                                                                                                                                                                                Exhibit 3 Page 18
      Case
      Case2:21-cr-00214-MCS
           2:21-cv-02927-CAS-GJS
                             Document
                                  Document
                                      16-1 27-1
                                            Filed 04/23/21
                                                  Filed 04/21/21
                                                            Page Page
                                                                 37 of 72
                                                                       23 ofPage  53 Page
                                                                                       ID #:116
                                                                                             ID
                                         #:2124
                             Supplemental Addendum                     File No. 2730120
Borrower           Leslie Klinger
Property Address   9615 Bolton Rd
City               Los Angeles                               County Los Angeles                            State CA     Zip Code 90034
Lender/Client      United Mortgage
 This appraisal has been prepared in accordance with the Appraiser Independence Requirements (AIR).

 NOTE: THE APPRAISER'S ANALYSIS, OPINIONS AND CONCLUSIONS WERE DEVELOPED AND THIS REPORT HAS
 BEEN PREPARED IN ACCORDANCE WITH THE UNIFORM STANDARDS OF PROFESSIONAL, APPRAISAL PRACTICE
 (USPAP) STANDARDS 1-3, AND FNMA GUIDELINES.

 SITE COMMENTS:

 The subject site is located on an interior lot and borders other similar single family residences.

 The subject was noted to have adequate CO and smoke detectors.

 All utilities were noted to be on and in working order.

 The subjects hot water heater was tankless.

 There were no apparent adverse easements, encroachments, or any other adverse conditions noted at the time of inspection.

 IMPROVEMENT COMMENTS:

 The subject was constructed in 2017 and has received adequate maintenance and upgrading throughout its history.

 Special features include:

 1). Living room with hardwood flooring and cathedrial ceilings
 2). Kitchen with hardwood flooring and marble countertops
 3). Master bedroom with hardwood flooring, vaulted ceilings, and crown moulding
 4). Master bathroom with marble flooring and wainscoting
 5). 2 car garage
 6). Covered patio
 7). Forced air heating and central air conditioning

 There were no apparent functional or external inadequacies noted. There were no major repairs needed, or apparent recent
 additions noted at the time of inspection.

 SALES COMPARISON ANALYSIS COMMENTS:

 All comparables are closed sales selected from the subject's general market area, and reflect the most current and similar
 available. The subject's market consists of single family residences with no significant differences in construction quality. Sales
 prices in the subject's market range from $4,050,000 to $6,950,000. Significant value influence is reflected in quality and
 condition appeal for properties and condition of sale (REO, non armslength, motivated sales). Due to the limited sales in the
 subject's immediate neighborhood, the comparable search was expanded to include adjacent neighborhoods, within the
 subject's market area. The subject exhibits Q2 quality and C2 condition appeal. All comparables are considered valid indicators
 of current market value and are subject to the same market forces as the subject property.

 See UAD Definitions for quality and condition ratings.

 Although all the comparables were considered, most weight in determining the final opinion of market value was given to
 comparable #1. Comparable #1 was given most weight due to the similarities in bedroom count, quality, condition, close
 proximity to the subject and recently closed sales date.

 Condition and construction ratings of the comparables were based on field observations and information supplied by data
 sources reviewed; RealQuest, MLS, and local real estate agent collaboration. Quality adjustments are based on grade of
 materials used and architectural design.

 Lot size adjustments were set at $7/sf
 Bathroom adjustments were set at $20,000 per full bath and $10,000 per half bath
 Fireplace adjustments were set at $10,000 per fireplace
 Garage adjustments were set at $10,000 per garage
 Guest house adjustments were set at $50,000
 Livable square footage adjustments were set at $125/sf
 Pool and spa adjustments were set at $125,000 and $25,000 respectively
 Patio adjustments were set at $5,000

 No age adjustments were warranted.

 Comparables #4 and #8 were noted to be in inferior condition than the subject and warranted adjustments. Adjustments were
 derived through local agent collaboration and analysis of the MLS.

 All adjustments were derived through local agent collaboration and analysis of the MLS.

 This appraisal includes only real property. No value was given to any personal property.

 The subject and all closed comparables used were purchased in terms of cash U.S. dollars, or the comparable financial
 arrangement cash equivalent. Also, the subject and comparable's sales prices represent normal consideration for the property
 sold unaffected by special or creative financing or sales concessions granted by anyone associated with the sale.

 Digital photographs were taken and used for this report. These digital photos were not altered in any manner.



                                                                                                                      Serial# 3A104477
                                      Form TADD - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE       esign.alamode.com/verify

                                                                                                                  Exhibit 3 Page 19
      Case
      Case2:21-cr-00214-MCS
           2:21-cv-02927-CAS-GJS
                             Document
                                  Document
                                      16-1 27-1
                                            Filed 04/23/21
                                                  Filed 04/21/21
                                                            Page Page
                                                                 38 of 72
                                                                       24 ofPage  53 Page
                                                                                       ID #:117
                                                                                             ID
                                         #:2125
                             Supplemental Addendum                     File No. 2730120
Borrower           Leslie Klinger
Property Address   9615 Bolton Rd
City               Los Angeles                              County Los Angeles                            State CA     Zip Code 90034
Lender/Client      United Mortgage
 All electronic signatures on this report have a security feature maintained by individual passwords for each signing appraiser.
 No person can alter the appraisal with the exception of the original signing appraiser(s). This appraisal assignment was not
 based on a requested minimum valuation, a specific valuation, or the approval of the loan. The appraiser's compensation is not
 contingent upon the reporting of a predetermined value or direction in value that favors the cause of the client, the amount of the
 value opinion, the attainment of a stipulated result, or the occurrence of a subsequent event.

 The effective date (date of value) of the subject property is as indicated on page 2 of the report. The completion date (date
 report prepared) is January 29, 2020.

 The value estimated is based on the assumption that the property is not negatively affected by the existence of hazardous
 substances or detrimental environmental conditions unless otherwise stated in the report. The appraiser is not an expert in the
 identification of hazardous substances or detrimental environmental conditions. The appraiser's routine inspection of and
 inquiries about the subject property did not develop any information that indicated any apparent significant hazardous
 substances or detrimental environmental conditions which would affect the property negatively unless otherwise stated in this
 report. It is possible that tests and inspections made by a qualified hazardous substances or environmental expert would reveal
 the existence of hazardous substances or detrimental environmental conditions on or around the property that would negatively
 affect its value.

 In accordance with the competency provision in the USPAP, the appraiser certifies that his education, experience, and
 knowledge are sufficient to appraise the type of property being valued.

 FINAL RECONCILIATION:
 Most consideration is given to the Sales Comparision Approach since it best reflects the actions of buyers and sellers in the
 open market. The Cost Approach is considered accurate, but secondary. The Income Approach is not applicable due to the
 general lack of viable rental data.




                                                                                                                     Serial# 3A104477
                                     Form TADD - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE       esign.alamode.com/verify

                                                                                                                 Exhibit 3 Page 20
      Case
      Case2:21-cr-00214-MCS
           2:21-cv-02927-CAS-GJS
                             Document
                                 Document
                                      16-1 27-1
                                            Filed 04/23/21
                                                  Filed 04/21/21
                                                            Page Page
                                                                 39 of 72
                                                                       25 ofPage
                                                                             53 Page
                                                                                 ID #:118
                                                                                       ID
                                         #:2126
                                  Subject Photo Page
Borrower           Leslie Klinger
Property Address   9615 Bolton Rd
City               Los Angeles                                County Los Angeles                             State CA       Zip Code 90034
Lender/Client      United Mortgage




                                                                                                                        Subject Front
                                                                                                      9615 Bolton Rd
                                                                                                      Sales Price
                                                                                                      Gross Living Area   7,561
                                                                                                      Total Rooms         10
                                                                                                      Total Bedrooms      5
                                                                                                      Total Bathrooms     7.1
                                                                                                      Location            N;Res;
                                                                                                      View                N;Res;
                                                                                                      Site                8909 sf
                                                                                                      Quality             Q2
                                                                                                      Age                 3




                                                                                                                        Subject Rear




                                                                                                                      Subject Street




                                                                                                                          Serial# 3A104477
                                     Form PICPIX.SR - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE       esign.alamode.com/verify

                                                                                                                      Exhibit 3 Page 21
      Case
      Case2:21-cr-00214-MCS
           2:21-cv-02927-CAS-GJS
                             Document
                                 Document
                                      16-1 27-1
                                            Filed 04/23/21
                                                  Filed 04/21/21
                                                            Page Page
                                                                 40 of 72
                                                                       26 ofPage
                                                                             53 Page
                                                                                 ID #:119
                                                                                       ID
                                         #:2127
                               Subject Interior Photo Page
Borrower           Leslie Klinger
Property Address   9615 Bolton Rd
City               Los Angeles                                County Los Angeles                             State CA        Zip Code 90034
Lender/Client      United Mortgage




                                                                                                                 Opposite Street View
                                                                                                       9615 Bolton Rd
                                                                                                       Sales Price
                                                                                                       Gross Living Area   7,561
                                                                                                       Total Rooms         10
                                                                                                       Total Bedrooms      5
                                                                                                       Total Bathrooms     7.1
                                                                                                       Location            N;Res;
                                                                                                       View                N;Res;
                                                                                                       Site                8909 sf
                                                                                                       Quality             Q2
                                                                                                       Age                 3




                                                                                                                             Bath




                                                                                                                        Dining Room




                                                                                                                           Serial# 3A104477
                                     Form PICPIX.SI - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE        esign.alamode.com/verify

                                                                                                                      Exhibit 3 Page 22
      Case
      Case2:21-cr-00214-MCS
           2:21-cv-02927-CAS-GJS
                             Document
                                 Document
                                      16-1 27-1
                                            Filed 04/23/21
                                                  Filed 04/21/21
                                                            Page Page
                                                                 41 of 72
                                                                       27 ofPage
                                                                             53 Page
                                                                                 ID #:120
                                                                                       ID
                                         #:2128
                               Subject Interior Photo Page
Borrower           Leslie Klinger
Property Address   9615 Bolton Rd
City               Los Angeles                                County Los Angeles                             State CA        Zip Code 90034
Lender/Client      United Mortgage




                                                                                                                Tankless Water Heater
                                                                                                       9615 Bolton Rd
                                                                                                       Sales Price
                                                                                                       Gross Living Area   7,561
                                                                                                       Total Rooms         10
                                                                                                       Total Bedrooms      5
                                                                                                       Total Bathrooms     7.1
                                                                                                       Location            N;Res;
                                                                                                       View                N;Res;
                                                                                                       Site                8909 sf
                                                                                                       Quality             Q2
                                                                                                       Age                 3




                                                                                                                      Garage Interior




                                                                                                                      Butlers Pantry




                                                                                                                           Serial# 3A104477
                                     Form PICPIX.SI - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE        esign.alamode.com/verify

                                                                                                                      Exhibit 3 Page 23
      Case
      Case2:21-cr-00214-MCS
           2:21-cv-02927-CAS-GJS
                             Document
                                 Document
                                      16-1 27-1
                                            Filed 04/23/21
                                                  Filed 04/21/21
                                                            Page Page
                                                                 42 of 72
                                                                       28 ofPage
                                                                             53 Page
                                                                                 ID #:121
                                                                                       ID
                                         #:2129
                               Subject Interior Photo Page
Borrower           Leslie Klinger
Property Address   9615 Bolton Rd
City               Los Angeles                                County Los Angeles                             State CA         Zip Code 90034
Lender/Client      United Mortgage




                                                                                                                            Kitchen
                                                                                                       9615 Bolton Rd
                                                                                                       Sales Price
                                                                                                       Gross Living Area    7,561
                                                                                                       Total Rooms          10
                                                                                                       Total Bedrooms       5
                                                                                                       Total Bathrooms      7.1
                                                                                                       Location             N;Res;
                                                                                                       View                 N;Res;
                                                                                                       Site                 8909 sf
                                                                                                       Quality              Q2
                                                                                                       Age                  3




                                                                                                                           Game Room




                                                                                                                        Living Room




                                                                                                                            Serial# 3A104477
                                     Form PICPIX.SI - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE         esign.alamode.com/verify

                                                                                                                      Exhibit 3 Page 24
      Case
      Case2:21-cr-00214-MCS
           2:21-cv-02927-CAS-GJS
                             Document
                                 Document
                                      16-1 27-1
                                            Filed 04/23/21
                                                  Filed 04/21/21
                                                            Page Page
                                                                 43 of 72
                                                                       29 ofPage
                                                                             53 Page
                                                                                 ID #:122
                                                                                       ID
                                         #:2130
                               Subject Interior Photo Page
Borrower           Leslie Klinger
Property Address   9615 Bolton Rd
City               Los Angeles                                County Los Angeles                             State CA         Zip Code 90034
Lender/Client      United Mortgage




                                                                                                                           Wine Room
                                                                                                       9615 Bolton Rd
                                                                                                       Sales Price
                                                                                                       Gross Living Area    7,561
                                                                                                       Total Rooms          10
                                                                                                       Total Bedrooms       5
                                                                                                       Total Bathrooms      7.1
                                                                                                       Location             N;Res;
                                                                                                       View                 N;Res;
                                                                                                       Site                 8909 sf
                                                                                                       Quality              Q2
                                                                                                       Age                  3




                                                                                                                              Patio




                                                                                                                            Bedroom




                                                                                                                            Serial# 3A104477
                                     Form PICPIX.SI - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE         esign.alamode.com/verify

                                                                                                                      Exhibit 3 Page 25
      Case
      Case2:21-cr-00214-MCS
           2:21-cv-02927-CAS-GJS
                             Document
                                 Document
                                      16-1 27-1
                                            Filed 04/23/21
                                                  Filed 04/21/21
                                                            Page Page
                                                                 44 of 72
                                                                       30 ofPage
                                                                             53 Page
                                                                                 ID #:123
                                                                                       ID
                                         #:2131
                               Subject Interior Photo Page
Borrower           Leslie Klinger
Property Address   9615 Bolton Rd
City               Los Angeles                                    County Los Angeles                            State CA           Zip Code 90034
Lender/Client      United Mortgage
                                                                                                                             Family Room
                                                                                                         9615 Bolton Rd
                                                                                                         Sales Price
                                                                                                         Gross Living Area      7,561
                                                                                                         Total Rooms            10
                                                                                                         Total Bedrooms         5
                                                                                                         Total Bathrooms        7.1
                                                                                                         Location               N;Res;
                                                                                                         View                   N;Res;
                                                                                                         Site                   8909 sf
                                                                                                         Quality                Q2
                                                                                                         Age                    3




                                                                                                                                 Theater




                                                                                                                                Half Bath




                                                                                                                                 Serial# 3A104477
                                     Form LPICPIX.DSS_LTIR - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                                                                                                                             Exhibit  3 Page 26
                                                                                                                               esign.alamode.com/verify
      Case
      Case2:21-cr-00214-MCS
           2:21-cv-02927-CAS-GJS
                             Document
                                 Document
                                      16-1 27-1
                                            Filed 04/23/21
                                                  Filed 04/21/21
                                                            Page Page
                                                                 45 of 72
                                                                       31 ofPage
                                                                             53 Page
                                                                                 ID #:124
                                                                                       ID
                                         #:2132
                               Subject Interior Photo Page
Borrower           Leslie Klinger
Property Address   9615 Bolton Rd
City               Los Angeles                                    County Los Angeles                            State CA           Zip Code 90034
Lender/Client      United Mortgage
                                                                                                                                Pool/Spa
                                                                                                         9615 Bolton Rd
                                                                                                         Sales Price
                                                                                                         Gross Living Area      7,561
                                                                                                         Total Rooms            10
                                                                                                         Total Bedrooms         5
                                                                                                         Total Bathrooms        7.1
                                                                                                         Location               N;Res;
                                                                                                         View                   N;Res;
                                                                                                         Site                   8909 sf
                                                                                                         Quality                Q2
                                                                                                         Age                    3




                                                                                                                                   Bath




                                                                                                                                   Gym




                                                                                                                                 Serial# 3A104477
                                     Form LPICPIX.DSS_LTIR - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                                                                                                                             Exhibit  3 Page 27
                                                                                                                               esign.alamode.com/verify
      Case
      Case2:21-cr-00214-MCS
           2:21-cv-02927-CAS-GJS
                             Document
                                 Document
                                      16-1 27-1
                                            Filed 04/23/21
                                                  Filed 04/21/21
                                                            Page Page
                                                                 46 of 72
                                                                       32 ofPage
                                                                             53 Page
                                                                                 ID #:125
                                                                                       ID
                                         #:2133
                               Subject Interior Photo Page
Borrower           Leslie Klinger
Property Address   9615 Bolton Rd
City               Los Angeles                                    County Los Angeles                            State CA           Zip Code 90034
Lender/Client      United Mortgage
                                                                                                                                Cov Patio
                                                                                                         9615 Bolton Rd
                                                                                                         Sales Price
                                                                                                         Gross Living Area      7,561
                                                                                                         Total Rooms            10
                                                                                                         Total Bedrooms         5
                                                                                                         Total Bathrooms        7.1
                                                                                                         Location               N;Res;
                                                                                                         View                   N;Res;
                                                                                                         Site                   8909 sf
                                                                                                         Quality                Q2
                                                                                                         Age                    3




                                                                                                                             Cov Patio Alt




                                                                                                                                    Spa




                                                                                                                                 Serial# 3A104477
                                     Form LPICPIX.DSS_LTIR - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                                                                                                                             Exhibit  3 Page 28
                                                                                                                               esign.alamode.com/verify
      Case
      Case2:21-cr-00214-MCS
           2:21-cv-02927-CAS-GJS
                             Document
                                 Document
                                      16-1 27-1
                                            Filed 04/23/21
                                                  Filed 04/21/21
                                                            Page Page
                                                                 47 of 72
                                                                       33 ofPage
                                                                             53 Page
                                                                                 ID #:126
                                                                                       ID
                                         #:2134
                               Subject Interior Photo Page
Borrower           Leslie Klinger
Property Address   9615 Bolton Rd
City               Los Angeles                                    County Los Angeles                            State CA           Zip Code 90034
Lender/Client      United Mortgage
                                                                                                                             Laundry Area
                                                                                                         9615 Bolton Rd
                                                                                                         Sales Price
                                                                                                         Gross Living Area      7,561
                                                                                                         Total Rooms            10
                                                                                                         Total Bedrooms         5
                                                                                                         Total Bathrooms        7.1
                                                                                                         Location               N;Res;
                                                                                                         View                   N;Res;
                                                                                                         Site                   8909 sf
                                                                                                         Quality                Q2
                                                                                                         Age                    3




                                                                                                                                Bedroom




                                                                                                                                   Bath




                                                                                                                                 Serial# 3A104477
                                     Form LPICPIX.DSS_LTIR - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                                                                                                                             Exhibit  3 Page 29
                                                                                                                               esign.alamode.com/verify
      Case
      Case2:21-cr-00214-MCS
           2:21-cv-02927-CAS-GJS
                             Document
                                 Document
                                      16-1 27-1
                                            Filed 04/23/21
                                                  Filed 04/21/21
                                                            Page Page
                                                                 48 of 72
                                                                       34 ofPage
                                                                             53 Page
                                                                                 ID #:127
                                                                                       ID
                                         #:2135
                               Subject Interior Photo Page
Borrower           Leslie Klinger
Property Address   9615 Bolton Rd
City               Los Angeles                                    County Los Angeles                            State CA           Zip Code 90034
Lender/Client      United Mortgage
                                                                                                                                   Bath
                                                                                                         9615 Bolton Rd
                                                                                                         Sales Price
                                                                                                         Gross Living Area      7,561
                                                                                                         Total Rooms            10
                                                                                                         Total Bedrooms         5
                                                                                                         Total Bathrooms        7.1
                                                                                                         Location               N;Res;
                                                                                                         View                   N;Res;
                                                                                                         Site                   8909 sf
                                                                                                         Quality                Q2
                                                                                                         Age                    3




                                                                                                                                Bedroom




                                                                                                                                   Bath




                                                                                                                                 Serial# 3A104477
                                     Form LPICPIX.DSS_LTIR - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                                                                                                                             Exhibit  3 Page 30
                                                                                                                               esign.alamode.com/verify
      Case
      Case2:21-cr-00214-MCS
           2:21-cv-02927-CAS-GJS
                             Document
                                 Document
                                      16-1 27-1
                                            Filed 04/23/21
                                                  Filed 04/21/21
                                                            Page Page
                                                                 49 of 72
                                                                       35 ofPage
                                                                             53 Page
                                                                                 ID #:128
                                                                                       ID
                                         #:2136
                               Subject Interior Photo Page
Borrower           Leslie Klinger
Property Address   9615 Bolton Rd
City               Los Angeles                                    County Los Angeles                            State CA           Zip Code 90034
Lender/Client      United Mortgage
                                                                                                                                Bedroom
                                                                                                         9615 Bolton Rd
                                                                                                         Sales Price
                                                                                                         Gross Living Area      7,561
                                                                                                         Total Rooms            10
                                                                                                         Total Bedrooms         5
                                                                                                         Total Bathrooms        7.1
                                                                                                         Location               N;Res;
                                                                                                         View                   N;Res;
                                                                                                         Site                   8909 sf
                                                                                                         Quality                Q2
                                                                                                         Age                    3




                                                                                                                                Bedroom




                                                                                                                                   Bath




                                                                                                                                 Serial# 3A104477
                                     Form LPICPIX.DSS_LTIR - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                                                                                                                             Exhibit  3 Page 31
                                                                                                                               esign.alamode.com/verify
      Case
      Case2:21-cr-00214-MCS
           2:21-cv-02927-CAS-GJS
                             Document
                                 Document
                                      16-1 27-1
                                            Filed 04/23/21
                                                  Filed 04/21/21
                                                            Page Page
                                                                 50 of 72
                                                                       36 ofPage
                                                                             53 Page
                                                                                 ID #:129
                                                                                       ID
                                         #:2137
                               Subject Interior Photo Page
Borrower           Leslie Klinger
Property Address   9615 Bolton Rd
City               Los Angeles                                    County Los Angeles                            State CA           Zip Code 90034
Lender/Client      United Mortgage
                                                                                                                                   Bath
                                                                                                         9615 Bolton Rd
                                                                                                         Sales Price
                                                                                                         Gross Living Area      7,561
                                                                                                         Total Rooms            10
                                                                                                         Total Bedrooms         5
                                                                                                         Total Bathrooms        7.1
                                                                                                         Location               N;Res;
                                                                                                         View                   N;Res;
                                                                                                         Site                   8909 sf
                                                                                                         Quality                Q2
                                                                                                         Age                    3




                                                                                                                                  Office




                                                                                                                   CO & Smoke Detector




                                                                                                                                 Serial# 3A104477
                                     Form LPICPIX.DSS_LTIR - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                                                                                                                             Exhibit  3 Page 32
                                                                                                                               esign.alamode.com/verify
      Case
      Case2:21-cr-00214-MCS
           2:21-cv-02927-CAS-GJS
                             Document
                                 Document
                                      16-1 27-1
                                            Filed 04/23/21
                                                  Filed 04/21/21
                                                            Page Page
                                                                 51 of 72
                                                                       37 ofPage
                                                                             53 Page
                                                                                 ID #:130
                                                                                       ID
                                         #:2138
                                 Comparable Photo Page
Borrower           Leslie Klinger
Property Address   9615 Bolton Rd
City               Los Angeles                                County Los Angeles                             State CA       Zip Code 90034
Lender/Client      United Mortgage




                                                                                                                      Comparable 1
                                                                                                      2250 Guthrie Cir
                                                                                                      Prox. to Subject    0.27 miles SE
                                                                                                      Sale Price          6,000,000
                                                                                                      Gross Living Area   9,068
                                                                                                      Total Rooms         13
                                                                                                      Total Bedrooms      8
                                                                                                      Total Bathrooms     8.2
                                                                                                      Location            N;Res;
                                                                                                      View                N;Res;
                                                                                                      Site                8564 sf
                                                                                                      Quality             Q2
                                                                                                      Age                 0




                                                                                                                      Comparable 2
                                                                                                      3001 Cavendish Dr
                                                                                                      Prox. to Subject  0.70 miles SW
                                                                                                      Sale Price        5,600,000
                                                                                                      Gross Living Area 7,858
                                                                                                      Total Rooms       11
                                                                                                      Total Bedrooms    6
                                                                                                      Total Bathrooms   6.2
                                                                                                      Location          N;Res;
                                                                                                      View              N;Res;
                                                                                                      Site              8756 sf
                                                                                                      Quality           Q2
                                                                                                      Age               0




                                                                                                                      Comparable 3
                                                                                                      10295 Cresta Dr
                                                                                                      Prox. to Subject    0.59 miles SW
                                                                                                      Sale Price          6,700,000
                                                                                                      Gross Living Area   8,883
                                                                                                      Total Rooms         13
                                                                                                      Total Bedrooms      8
                                                                                                      Total Bathrooms     8.1
                                                                                                      Location            N;Res;
                                                                                                      View                N;Res;
                                                                                                      Site                11381 sf
                                                                                                      Quality             Q2
                                                                                                      Age                 3




                                                                                                                          Serial# 3A104477
                                     Form PICPIX.CR - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE       esign.alamode.com/verify

                                                                                                                       Exhibit 3 Page 33
      Case
      Case2:21-cr-00214-MCS
           2:21-cv-02927-CAS-GJS
                             Document
                                 Document
                                      16-1 27-1
                                            Filed 04/23/21
                                                  Filed 04/21/21
                                                            Page Page
                                                                 52 of 72
                                                                       38 ofPage
                                                                             53 Page
                                                                                 ID #:131
                                                                                       ID
                                         #:2139
                                 Comparable Photo Page
Borrower           Leslie Klinger
Property Address   9615 Bolton Rd
City               Los Angeles                                County Los Angeles                             State CA       Zip Code 90034
Lender/Client      United Mortgage




                                                                                                                      Comparable 4
                                                                                                      2107 Duxbury Cir
                                                                                                      Prox. to Subject  0.13 miles E
                                                                                                      Sale Price        4,450,000
                                                                                                      Gross Living Area 6,974
                                                                                                      Total Rooms       11
                                                                                                      Total Bedrooms    6
                                                                                                      Total Bathrooms   5.1
                                                                                                      Location          N;Res;
                                                                                                      View              N;Res;
                                                                                                      Site              9492 sf
                                                                                                      Quality           Q2
                                                                                                      Age               23




                                                                                                                      Comparable 5
                                                                                                      2251 Guthrie Dr
                                                                                                      Prox. to Subject    0.35 miles SE
                                                                                                      Sale Price          5,500,000
                                                                                                      Gross Living Area   6,872
                                                                                                      Total Rooms         11
                                                                                                      Total Bedrooms      6
                                                                                                      Total Bathrooms     6.2
                                                                                                      Location            N;Res;
                                                                                                      View                N;Res;
                                                                                                      Site                7718 sf
                                                                                                      Quality             Q2
                                                                                                      Age                 1




                                                                                                                      Comparable 6
                                                                                                      9325 Bolton Rd
                                                                                                      Prox. to Subject    0.26 miles E
                                                                                                      Sale Price          4,500,000
                                                                                                      Gross Living Area   5,765
                                                                                                      Total Rooms         11
                                                                                                      Total Bedrooms      6
                                                                                                      Total Bathrooms     7.0
                                                                                                      Location            N;Res;
                                                                                                      View                N;Res;
                                                                                                      Site                6438 sf
                                                                                                      Quality             Q2
                                                                                                      Age                 2




                                                                                                                          Serial# 3A104477
                                     Form PICPIX.CR - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE       esign.alamode.com/verify

                                                                                                                       Exhibit 3 Page 34
      Case
      Case2:21-cr-00214-MCS
           2:21-cv-02927-CAS-GJS
                             Document
                                 Document
                                      16-1 27-1
                                            Filed 04/23/21
                                                  Filed 04/21/21
                                                            Page Page
                                                                 53 of 72
                                                                       39 ofPage
                                                                             53 Page
                                                                                 ID #:132
                                                                                       ID
                                         #:2140
                                 Comparable Photo Page
Borrower           Leslie Klinger
Property Address   9615 Bolton Rd
City               Los Angeles                                County Los Angeles                             State CA          Zip Code 90034
Lender/Client      United Mortgage




                                                                                                                      Comparable 7
                                                                                                      3160 Cavendish Dr
                                                                                                      Prox. to Subject  0.93 miles SW
                                                                                                      Sale Price        6,750,000
                                                                                                      Gross Living Area 6,428
                                                                                                      Total Rooms       11
                                                                                                      Total Bedrooms    6
                                                                                                      Total Bathrooms   7.1
                                                                                                      Location          N;Res;
                                                                                                      View              N;Res;
                                                                                                      Site              9544 sf
                                                                                                      Quality           Q2
                                                                                                      Age               0




                                                                                                                      Comparable 8
                                                                                                      9739 Monte Mar Dr
                                                                                                      Prox. to Subject  0.34 miles NW
                                                                                                      Sale Price        4,299,000
                                                                                                      Gross Living Area 5,082
                                                                                                      Total Rooms       10
                                                                                                      Total Bedrooms    5
                                                                                                      Total Bathrooms   5.1
                                                                                                      Location          N;Res;
                                                                                                      View              N;Res;
                                                                                                      Site              7241 sf
                                                                                                      Quality           Q2
                                                                                                      Age               13




                                                                                                                      Comparable 9

                                                                                                      Prox. to Subject
                                                                                                      Sale Price
                                                                                                      Gross Living Area
                                                                                                      Total Rooms
                                                                                                      Total Bedrooms
                                                                                                      Total Bathrooms
                                                                                                      Location
                                                                                                      View
                                                                                                      Site
                                                                                                      Quality
                                                                                                      Age




                                                                                                                             Serial# 3A104477
                                     Form PICPIX.CR - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE          esign.alamode.com/verify

                                                                                                                          Exhibit 3 Page 35
      Case
      Case2:21-cr-00214-MCS
           2:21-cv-02927-CAS-GJS
                             Document
                                 Document
                                      16-1 27-1
                                            Filed 04/23/21
                                                  Filed 04/21/21
                                                            Page Page
                                                                 54 of 72
                                                                       40 ofPage
                                                                             53 Page
                                                                                 ID #:133
                                                                                       ID
                                         #:2141
                                        Plat Map
Borrower           Leslie Klinger
Property Address   9615 Bolton Rd
City               Los Angeles                                County Los Angeles                            State CA      Zip Code 90034
Lender/Client      United Mortgage




                                                                                                                        Serial# 3A104477
                                     Form MAP.PLAT - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE      esign.alamode.com/verify

                                                                                                                     Exhibit 3 Page 36
      Case
      Case2:21-cr-00214-MCS
           2:21-cv-02927-CAS-GJS
                             Document
                                 Document
                                      16-1 27-1
                                            Filed 04/23/21
                                                  Filed 04/21/21
                                                            Page Page
                                                                 55 of 72
                                                                       41 ofPage
                                                                             53 Page
                                                                                 ID #:134
                                                                                       ID
                                         #:2142
                                      Location Map
Borrower           Leslie Klinger
Property Address   9615 Bolton Rd
City               Los Angeles                               County Los Angeles                            State CA      Zip Code 90034
Lender/Client      United Mortgage




                                                                                                                       Serial# 3A104477
                                     Form MAP.LOC - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE      esign.alamode.com/verify

                                                                                                                    Exhibit 3 Page 37
      Case
      Case2:21-cr-00214-MCS
           2:21-cv-02927-CAS-GJS
                             Document
                                 Document
                                      16-1 27-1
                                            Filed 04/23/21
                                                  Filed 04/21/21
                                                            Page Page
                                                                 56 of 72
                                                                       42 ofPage
                                                                             53 Page
                                                                                 ID #:135
                                                                                       ID
                                         #:2143
                                       Aerial Map
Borrower           Leslie Klinger
Property Address   9615 Bolton Rd
City               Los Angeles                                 County Los Angeles                            State CA       Zip Code 90034
Lender/Client      United Mortgage




                                                                                                                          Serial# 3A104477
                                     Form MAP.AERIAL - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE      esign.alamode.com/verify

                                                                                                                       Exhibit 3 Page 38
       Case
       Case2:21-cr-00214-MCS
            2:21-cv-02927-CAS-GJS
                              Document
                                   Document
                                        16-1 27-1
                                              Filed 04/23/21
                                                    Filed 04/21/21
                                                              Page Page
                                                                   57 of 72
                                                                         43 ofPage
                                                                               53 Page
                                                                                   ID #:136
                                                                                         ID
                                           #:2144
                                 Building Sketch (Page - 1)
Borrower                      Leslie Klinger
Property Address              9615 Bolton Rd
City                          Los Angeles                                                                                 County Los Angeles                                                                  State CA                                 Zip Code 90034
Lender/Client                 United Mortgage




                                                                                                                    20'
                                                                                                                                        19'
                                                                                                  19'




                                                                                                               2 Car Buil In                                       14'
                                                                                                                                                        6'




                                                                                                                [380 Sq ft]

                                                                                                                                              11'                 Office
                                                                                                                                        5'




                                                                                                                                                                               23'




                             9'                                                                                                                                                                                     6'                                             19'
                                                                                                                    20'
                                                                                                                                                                                                                               2.5'




                                                                                                                                                                                                                                         14'
                                                                                                                                                                                                                                                  2'
                                                                                                                                               Foyer
                                      3'
                   3'




                   2'                                       29'
                                                                                                        10'




                                                                                                                    Bath (half)
                                                                                                                                                                                                                    Bath
                                                                                                              8'                                                                                                                                        Bath
                                                                                                                                                                                                             16'




                                                                                                                                                                               3'                                              Bedroom
                                                                  Gym
                              Theater                                                                                                                                                                                                                            Bedroom




                                                                                                                                                                                                                                                                                  30'
                                                                                                                    18'




                                                                                                                                                                                                                     8'
                                                                                       30'
             30'




                                                                                                                                                                         18'




                                                                                                                               Living               Dining
                                                                                                                                                                                     Second Floor
                                                                                                                                                                                      [2781 Sq ft]
                                                                                                                                                                                                                                                                 Bedroom
                                                                                                                                                                                                                           18'




                                  Wine Room
                                                                                                                                                                                                     Third Floor
                                                                                                              8'                                                                                     [2475 Sq ft]
                                                                                                                                                                               3'                                                                                                 3'

                                                                                                                                                                                                                     8'
                                                                                                                   Staircase                                                                                                                                           Bath
                        9'                                                    8'                                                                                                                                                               Laundry
                                                                                                                                                       Bath

                                                 Game Room
                                                                                                        32'
                              18'




                                                                                   First Floor
                                                                        18'




                                                                                                                                                                               30'




                                                                                                                                                                                                                                                                 Walk In Closet
                                                                                   [2305 Sq ft]                                                                                                                          Master Bedroom
                                                                                                                                                                                                                                                                                        30'




                                                                                                                           Family
                                                                                                                                                      Kitchen
                                                                                                                                                                                                             32'




                        9'                                                    8'                                                                                                                                                                               Master Bath


                                          Bath
                                                                                       10'




                                                                                                                           32'                                                 3'
                                                                                                                                                                  Nook
                        Bedroom
                                                                                                                                                             7'




                                                                                                                                                                         7'
             22'




                                                                                                                                                                                                                                                                                  3'
                                                                  18'
                                                                                                                                                                                                                                                                                  5'




                                                                                                                                                                  10'
                                           Bath
                                                                                                                                                                                                                                  1.5'




                                                                                                                                                                                                                                                  2'




                                                                                                                                                                                                                                                                 22'
                                                      12'




                                                                                                                                                                                                                         10'
                                                                                                                                                                                                                                          7'



                                    22'




 TOTAL Sketch by a la mode, inc.




                                                                                                                                                                                                                                                Serial# 3A104477
                                                                               Form SKT.BLDSKI - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE                                                                                  esign.alamode.com/verify

                                                                                                                                                                                                                                         Exhibit 3 Page 39
       Case
       Case2:21-cr-00214-MCS
            2:21-cv-02927-CAS-GJS
                              Document
                                   Document
                                        16-1 27-1
                                              Filed 04/23/21
                                                    Filed 04/21/21
                                                              Page Page
                                                                   58 of 72
                                                                         44 ofPage
                                                                               53 Page
                                                                                   ID #:137
                                                                                         ID
                                           #:2145
                                 Building Sketch (Page - 2)
Borrower                Leslie Klinger
Property Address        9615 Bolton Rd
City                    Los Angeles                                 County Los Angeles                            State CA           Zip Code 90034
Lender/Client           United Mortgage




 TOTAL Sketch by a la mode, inc.                                  Area Calculations Summary
Living Area                                                                                                  Calculation Details
First Floor                                                           2305 Sq ft                                                                   9×3         =   27
                                                                                                                                                   40 × 30     = 1200
                                                                                                                                                   23 × 18     = 414
                                                                                                                                                   22 × 22     = 484
                                                                                                                                                   10 × 18     = 180

Second Floor                                                          2781 Sq ft                                                                   10 × 7      =   70
                                                                                                                                                   10 × 8      =   80
                                                                                                                                                   45 × 30     = 1350
                                                                                                                                                   14 × 6      =   84
                                                                                                                                                   2×8         =   16
                                                                                                                                                   34 × 18     = 612
                                                                                                                                                   12 × 12     = 144
                                                                                                                                                   17 × 25     = 425

Third Floor                                                           2475 Sq ft                                                                   30 × 3      =   90
                                                                                                                                                   6 × 2.5     =   15
                                                                                                                                                   65 × 19     = 1235
                                                                                                                                                   20 × 13.5   = 270
                                                                                                                                                   12 × 18     = 216
                                                                                                                                                   20 × 31.5   = 630
                                                                                                                                                   2×7         =   14
                                                                                                                                                   0.5 × 10    =    5

Total Living Area (Rounded):                                          7561 Sq ft
Non-living Area
2 Car Buil In                                                          380 Sq ft                                                                   20 × 19     =   380




                                                                                                                                   Serial# 3A104477
                                          Form SKT.BLDSKI - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE          esign.alamode.com/verify

                                                                                                                            Exhibit 3 Page 40
Case
Case2:21-cr-00214-MCS
     2:21-cv-02927-CAS-GJS
                       Document
                           Document
                                16-1 27-1
                                      Filed 04/23/21
                                            Filed 04/21/21
                                                      Page Page
                                                           59 of 72
                                                                 45 ofPage
                                                                       53 Page
                                                                           ID #:138
                                                                                 ID
                                   #:2146
                                   License




                                                                                                       Serial# 3A104477
                     Form SCNLTR - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                                                                                                   Exhibit  3 Page 41
                                                                                                     esign.alamode.com/verify
Case
Case2:21-cr-00214-MCS
     2:21-cv-02927-CAS-GJS
                       Document
                           Document
                                16-1 27-1
                                      Filed 04/23/21
                                            Filed 04/21/21
                                                      Page Page
                                                           60 of 72
                                                                 46 ofPage
                                                                       53 Page
                                                                           ID #:139
                                                                                 ID
                                   #:2147
                                E&O - Page 1




                                                                                                       Serial# 3A104477
                     Form SCNLTR - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                                                                                                   Exhibit  3 Page 42
                                                                                                     esign.alamode.com/verify
Case
Case2:21-cr-00214-MCS
     2:21-cv-02927-CAS-GJS
                       Document
                           Document
                                16-1 27-1
                                      Filed 04/23/21
                                            Filed 04/21/21
                                                      Page Page
                                                           61 of 72
                                                                 47 ofPage
                                                                       53 Page
                                                                           ID #:140
                                                                                 ID
                                   #:2148
                                E&O - Page 2




                                                                                                       Serial# 3A104477
                     Form SCNLTR - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                                                                                                   Exhibit  3 Page 43
                                                                                                     esign.alamode.com/verify
     Case
     Case2:21-cr-00214-MCS
          2:21-cv-02927-CAS-GJS
                            Document
                                Document
                                     16-1 27-1
                                           Filed 04/23/21
                                                 Filed 04/21/21
                                                           Page Page
                                                                62 of 72
                                                                      48 ofPage
                                                                            53 Page
                                                                                ID #:141
                                                                                      ID
                                        #:2149
                                                                                                                         File No.   2730120

                          UNIFORM APPRAISAL DATASET (UAD) DEFINITIONS ADDENDUM
                                (Source: Fannie Mae UAD Appendix D: UAD Field-Specific Standardization Requirements)

Condition Ratings and Definitions

C1
The improvements have been recently constructed and have not been previously occupied. The entire structure and all components are new
and the dwelling features no physical depreciation.

Note: Newly constructed improvements that feature recycled or previously used materials and/or components can be considered new dwellings
provided that the dwelling is placed on a 100 percent new foundation and the recycled materials and the recycled components have been
rehabilitated/remanufactured into like-new condition. Improvements that have not been previously occupied are not considered “new” if they
have any significant physical depreciation (that is, newly constructed dwellings that have been vacant for an extended period of time without
adequate maintenance or upkeep).

C2
The improvements feature no deferred maintenance, little or no physical depreciation, and require no repairs. Virtually all building components
are new or have been recently repaired, refinished, or rehabilitated. All outdated components and finishes have been updated and/or replaced
with components that meet current standards. Dwellings in this category are either almost new or have been recently completely renovated and
are similar in condition to new construction.

Note: The improvements represent a relatively new property that is well maintained with no deferred maintenance and little or no physical
depreciation, or an older property that has been recently completely renovated.

C3
The improvements are well maintained and feature limited physical depreciation due to normal wear and tear. Some components, but not every
major building component, may be updated or recently rehabilitated. The structure has been well maintained.

Note: The improvement is in its first-cycle of replacing short-lived building components (appliances, floor coverings, HVAC, etc.) and is
being well maintained. Its estimated effective age is less than its actual age. It also may reflect a property in which the majority of
short-lived building components have been replaced but not to the level of a complete renovation.

C4
The improvements feature some minor deferred maintenance and physical deterioration due to normal wear and tear. The dwelling has been
adequately maintained and requires only minimal repairs to building components/mechanical systems and cosmetic repairs. All major building
components have been adequately maintained and are functionally adequate.

Note: The estimated effective age may be close to or equal to its actual age. It reflects a property in which some of the short-lived building
components have been replaced, and some short-lived building components are at or near the end of their physical life expectancy; however,
they still function adequately. Most minor repairs have been addressed on an ongoing basis resulting in an adequately maintained property.

C5
The improvements feature obvious deferred maintenance and are in need of some significant repairs. Some building components need repairs,
rehabilitation, or updating. The functional utility and overall livability is somewhat diminished due to condition, but the dwelling remains
useable and functional as a residence.

Note: Some significant repairs are needed to the improvements due to the lack of adequate maintenance. It reflects a property in which many
of its short-lived building components are at the end of or have exceeded their physical life expectancy but remain functional.

C6
The improvements have substantial damage or deferred maintenance with deficiencies or defects that are severe enough to affect the safety,
soundness, or structural integrity of the improvements. The improvements are in need of substantial repairs and rehabilitation, including many
or most major components.

Note: Substantial repairs are needed to the improvements due to the lack of adequate maintenance or property damage. It reflects a property
with conditions severe enough to affect the safety, soundness, or structural integrity of the improvements.




Quality Ratings and Definitions

Q1
Dwellings with this quality rating are usually unique structures that are individually designed by an architect for a specified user. Such
residences typically are constructed from detailed architectural plans and specifications and feature an exceptionally high level of workmanship
and exceptionally high-grade materials throughout the interior and exterior of the structure. The design features exceptionally high-quality
exterior refinements and ornamentation, and exceptionally high-quality interior refinements. The workmanship, materials, and finishes
throughout the dwelling are of exceptionally high quality.

Q2
Dwellings with this quality rating are often custom designed for construction on an individual property owner’s site. However, dwellings in
this quality grade are also found in high-quality tract developments featuring residence constructed from individual plans or from highly
modified or upgraded plans. The design features detailed, high quality exterior ornamentation, high-quality interior refinements, and detail. The
workmanship, materials, and finishes throughout the dwelling are generally of high or very high quality.


                                                          UAD Version 9/2011 (Updated 1/2014)
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                                      Form UADDEFINE1A - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE              esign.alamode.com/verify

                                                                                                                             Exhibit 3 Page 44
     Case
     Case2:21-cr-00214-MCS
          2:21-cv-02927-CAS-GJS
                            Document
                                Document
                                     16-1 27-1
                                           Filed 04/23/21
                                                 Filed 04/21/21
                                                           Page Page
                                                                63 of 72
                                                                      49 ofPage
                                                                            53 Page
                                                                                ID #:142
                                                                                      ID
                                        #:2150
                 UNIFORM APPRAISAL DATASET (UAD) DEFINITIONS ADDENDUM
                                (Source: Fannie Mae UAD Appendix D: UAD Field-Specific Standardization Requirements)

Quality Ratings and Definitions (continued)

Q3
Dwellings with this quality rating are residences of higher quality built from individual or readily available designer plans in above-standard
residential tract developments or on an individual property owner’s site. The design includes significant exterior ornamentation and interiors
that are well finished. The workmanship exceeds acceptable standards and many materials and finishes throughout the dwelling have been
upgraded from “stock” standards.

Q4
Dwellings with this quality rating meet or exceed the requirements of applicable building codes. Standard or modified standard building plans
are utilized and the design includes adequate fenestration and some exterior ornamentation and interior refinements. Materials, workmanship,
finish, and equipment are of stock or builder grade and may feature some upgrades.

Q5
Dwellings with this quality rating feature economy of construction and basic functionality as main considerations. Such dwellings feature a
plain design using readily available or basic floor plans featuring minimal fenestration and basic finishes with minimal exterior ornamentation
and limited interior detail. These dwellings meet minimum building codes and are constructed with inexpensive, stock materials
with limited refinements and upgrades.

Q6
Dwellings with this quality rating are of basic quality and lower cost; some may not be suitable for year-round occupancy. Such dwellings
are often built with simple plans or without plans, often utilizing the lowest quality building materials. Such dwellings are often built or
expanded by persons who are professionally unskilled or possess only minimal construction skills. Electrical, plumbing, and other mechanical
systems and equipment may be minimal or non-existent. Older dwellings may feature one or more substandard or non-conforming additions
to the original structure




Definitions of Not Updated, Updated, and Remodeled

Not Updated
           Little or no updating or modernization. This description includes, but is not limited to, new homes.
           Residential properties of fifteen years of age or less often reflect an original condition with no updating, if no major
           components have been replaced or updated. Those over fifteen years of age are also considered not updated if the
           appliances, fixtures, and finishes are predominantly dated. An area that is ‘Not Updated’ may still be well maintained
           and fully functional, and this rating does not necessarily imply deferred maintenance or physical/functional deterioration.

Updated
           The area of the home has been modified to meet current market expectations. These modifications
           are limited in terms of both scope and cost.
           An updated area of the home should have an improved look and feel, or functional utility. Changes that constitute
           updates include refurbishment and/or replacing components to meet existing market expectations. Updates do not
           include significant alterations to the existing structure.

Remodeled
           Significant finish and/or structural changes have been made that increase utility and appeal through
           complete replacement and/or expansion.
           A remodeled area reflects fundamental changes that include multiple alterations. These alterations may include
           some or all of the following: replacement of a major component (cabinet(s), bathtub, or bathroom tile), relocation
           of plumbing/gas fixtures/appliances, significant structural alterations (relocating walls, and/or the addition of)
           square footage). This would include a complete gutting and rebuild.




Explanation of Bathroom Count

           Three-quarter baths are counted as a full bath in all cases. Quarter baths (baths that feature only a toilet) are not
           included in the bathroom count. The number of full and half baths is reported by separating the two values using a
           period, where the full bath count is represented to the left of the period and the half bath count is represented to the
           right of the period.


           Example:
           3.2 indicates three full baths and two half baths.




                                                          UAD Version 9/2011 (Updated 1/2014)
                                                                                                                              Serial# 3A104477
                                      Form UADDEFINE1A - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE        esign.alamode.com/verify

                                                                                                                         Exhibit 3 Page 45
    Case
    Case2:21-cr-00214-MCS
         2:21-cv-02927-CAS-GJS
                           Document
                               Document
                                    16-1 27-1
                                          Filed 04/23/21
                                                Filed 04/21/21
                                                          Page Page
                                                               64 of 72
                                                                     50 ofPage
                                                                           53 Page
                                                                               ID #:143
                                                                                     ID
                                       #:2151
                UNIFORM APPRAISAL DATASET (UAD) DEFINITIONS ADDENDUM
                           (Source: Fannie Mae UAD Appendix D: UAD Field-Specific Standardization Requirements)

Abbreviations Used in Data Standardization Text

    Abbreviation                               Full Name                                      Fields Where This Abbreviation May Appear
 A                     Adverse                                                           Location & View
 ac                    Acres                                                             Area, Site
 AdjPrk                Adjacent to Park                                                  Location
 AdjPwr                Adjacent to Power Lines                                           Location
 ArmLth                Arms Length Sale                                                  Sale or Financing Concessions
 AT                    Attached Structure                                                Design (Style)
 B                     Beneficial                                                        Location & View
 ba                    Bathroom(s)                                                       Basement & Finished Rooms Below Grade
 br                    Bedroom                                                           Basement & Finished Rooms Below Grade
 BsyRd                 Busy Road                                                         Location
 c                     Contracted Date                                                   Date of Sale/Time
 Cash                  Cash                                                              Sale or Financing Concessions
 Comm                  Commercial Influence                                              Location
 Conv                  Conventional                                                      Sale or Financing Concessions
 cp                    Carport                                                           Garage/Carport
 CrtOrd                Court Ordered Sale                                                Sale or Financing Concessions
 CtySky                City View Skyline View                                            View
 CtyStr                City Street View                                                  View
 cv                    Covered                                                           Garage/Carport
 DOM                   Days On Market                                                    Data Sources
 DT                    Detached Structure                                                Design (Style)
 dw                    Driveway                                                          Garage/Carport
 e                     Expiration Date                                                   Date of Sale/Time
 Estate                Estate Sale                                                       Sale or Financing Concessions
 FHA                   Federal Housing Authority                                         Sale or Financing Concessions
 g                     Garage                                                            Garage/Carport
 ga                    Attached Garage                                                   Garage/Carport
 gbi                   Built-in Garage                                                   Garage/Carport
 gd                    Detached Garage                                                   Garage/Carport
 GlfCse                Golf Course                                                       Location
 Glfvw                 Golf Course View                                                  View
 GR                    Garden                                                            Design (Style)
 HR                    High Rise                                                         Design (Style)
 in                    Interior Only Stairs                                              Basement & Finished Rooms Below Grade
 Ind                   Industrial                                                        Location & View
 Listing               Listing                                                           Sale or Financing Concessions
 Lndfl                 Landfill                                                          Location
 LtdSght               Limited Sight                                                     View
 MR                    Mid-rise                                                          Design (Style)
 Mtn                   Mountain View                                                     View
 N                     Neutral                                                           Location & View
 NonArm                Non-Arms Length Sale                                              Sale or Financing Concessions
 o                     Other                                                             Basement & Finished Rooms Below Grade
 O                     Other                                                             Design (Style)
 op                    Open                                                              Garage/Carport
 Prk                   Park View                                                         View
 Pstrl                 Pastoral View                                                     View
 PwrLn                 Power Lines                                                       View
 PubTrn                Public Transportation                                             Location
 Relo                  Relocation Sale                                                   Sale or Financing Concessions
 REO                   REO Sale                                                          Sale or Financing Concessions
 Res                   Residential                                                       Location & View
 RH                    USDA - Rural Housing                                              Sale or Financing Concessions
 rr                    Recreational (Rec) Room                                           Basement & Finished Rooms Below Grade
 RT                    Row or Townhouse                                                  Design (Style)
 s                     Settlement Date                                                   Date of Sale/Time
 SD                    Semi-detached Structure                                           Design (Style)
 Short                 Short Sale                                                        Sale or Financing Concessions
 sf                    Square Feet                                                       Area, Site, Basement
 sqm                   Square Meters                                                     Area, Site
 Unk                   Unknown                                                           Date of Sale/Time
 VA                    Veterans Administration                                           Sale or Financing Concessions
 w                     Withdrawn Date                                                    Date of Sale/Time
 wo                    Walk Out Basement                                                 Basement & Finished Rooms Below Grade
 Woods                 Woods View                                                        View
 Wtr                   Water View                                                        View
 WtrFr                 Water Frontage                                                    Location
 wu                    Walk Up Basement                                                  Basement & Finished Rooms Below Grade




                                                     UAD Version 9/2011 (Updated 1/2014)
                                                                                                                       Serial# 3A104477
                                 Form UADDEFINE1A - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE      esign.alamode.com/verify

                                                                                                                    Exhibit 3 Page 46
Case
Case2:21-cr-00214-MCS
     2:21-cv-02927-CAS-GJS
                       Document
                           Document
                                16-1 27-1
                                      Filed 04/23/21
                                            Filed 04/21/21
                                                      Page Page
                                                           65 of 72
                                                                 51 ofPage
                                                                       53 Page
                                                                           ID #:144
                                                                                 ID
                                   #:2152




                    EXHIBIT 4
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Case2:21-cr-00214-MCS
     2:21-cv-02927-CAS-GJS
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                                16-1 27-1
                                      Filed 04/23/21
                                            Filed 04/21/21
                                                      Page Page
                                                           66 of 72
                                                                 52 ofPage
                                                                       53 Page
                                                                           ID #:145
                                                                                 ID
                                   #:2153




                                                                     Exhibit 4 Page 47
Case
Case2:21-cr-00214-MCS
     2:21-cv-02927-CAS-GJS
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                                16-1 27-1
                                      Filed 04/23/21
                                            Filed 04/21/21
                                                      Page Page
                                                           67 of 72
                                                                 53 ofPage
                                                                       53 Page
                                                                           ID #:146
                                                                                 ID
                                   #:2154




                                                                     Exhibit 4 Page 48
 Case
  Case2:21-cv-02927-CAS-GJS
        2:21-cr-00214-MCS Document
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                                   16-1
                                      27-2
                                         Filed
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                                                04/23/21
                                                   04/21/21
                                                          Page
                                                            Page
                                                               68 of
                                                                  1 of
                                                                     724 Page
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7    Telephone: (323) 965-3998
     Facsimile: (213) 443-1904
8
                           UNITED STATES DISTRICT COURT
9
                         CENTRAL DISTRICT OF CALIFORNIA
10
                                     Western Division
11
12    SECURITIES AND EXCHANGE                     Case No. 2:21-cv-02927-CAS-GJS
      COMMISSION,
13
                   Plaintiff,                     DECLARATION OF MALLORY
14                                                HORWITZ
             vs.
15
      ZACHARY J. HORWITZ; AND
16    1INMM CAPITAL, LLC,
17
                   Defendants.
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                                  16-1
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                                               04/23/21
                                                  04/21/21
                                                         Page
                                                           Page
                                                              69 of
                                                                 2 of
                                                                    724 Page
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 Case
  Case2:21-cv-02927-CAS-GJS
        2:21-cr-00214-MCS Document
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                                   16-1
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                                                04/23/21
                                                   04/21/21
                                                          Page
                                                            Page
                                                               70 of
                                                                  3 of
                                                                     724 Page
                                                                         PageID
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1                                   PROOF OF SERVICE
2    I am over the age of 18 years and not a party to this action. My business address is:
3          U.S. SECURITIES AND EXCHANGE COMMISSION,
           444 S. Flower Street, Suite 900, Los Angeles, California 90071
4          Telephone No. (323) 965-3998; Facsimile No. (213) 443-1904.
5    On April 21, 2021, I caused to be served the document entitled DECLARATION
     OF MALLORY HORWITZ on all the parties to this action addressed as stated on
6    the attached service list:
7    ☐      OFFICE MAIL: By placing in sealed envelope(s), which I placed for
     collection and mailing today following ordinary business practices. I am readily
8    familiar with this agency’s practice for collection and processing of correspondence
     for mailing; such correspondence would be deposited with the U.S. Postal Service on
9    the same day in the ordinary course of business.
10         ☐      PERSONAL DEPOSIT IN MAIL: By placing in sealed envelope(s),
     which I personally deposited with the U.S. Postal Service. Each such envelope was
11   deposited with the U.S. Postal Service at Los Angeles, California, with first class
     postage thereon fully prepaid.
12
           ☐     EXPRESS U.S. MAIL: Each such envelope was deposited in a facility
13   regularly maintained at the U.S. Postal Service for receipt of Express Mail at Los
     Angeles, California, with Express Mail postage paid.
14
     ☐      HAND DELIVERY: I caused to be hand delivered each such envelope to the
15   office of the addressee as stated on the attached service list.
16   ☐     UNITED PARCEL SERVICE: By placing in sealed envelope(s) designated
     by United Parcel Service (“UPS”) with delivery fees paid or provided for, which I
17   deposited in a facility regularly maintained by UPS or delivered to a UPS courier, at
     Los Angeles, California.
18
     ☐      ELECTRONIC MAIL: By transmitting the document by electronic mail to
19   the electronic mail address as stated on the attached service list.
20   ☒    E-FILING: By causing the document to be electronically filed via the Court’s
     CM/ECF system, which effects electronic service on counsel who are registered with
21   the CM/ECF system.
22   ☐     FAX: By transmitting the document by facsimile transmission. The
     transmission was reported as complete and without error.
23
           I declare under penalty of perjury that the foregoing is true and correct.
24
25    Date: April 21, 2021                      /s/ Kathryn C. Wanner
                                                KATHRYN C. WANNER
26
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 Case
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                                   16-1
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                                                04/23/21
                                                   04/21/21
                                                          Page
                                                            Page
                                                               71 of
                                                                  4 of
                                                                     724 Page
                                                                         PageID
                                                                              ID#:150
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1                            SEC v. Zachary Horwitz, et al.
              United States District Court – Central District of California
2                         Case No. 2:21-cv-02927-CAS-GJS
                                       LA-5212
3
4                                    SERVICE LIST
5
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                Los Angeles, CA 90067
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                (served via CM/ECF)
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               Case 2:21-cr-00214-MCS Document 16-1 Filed 04/23/21 Page 72 of 72 Page ID #:151



                       1                             CERTIFICATE OF SERVICE
                       2         I hereby certify that on April 23, 2021, I caused to be electronically filed a
                       3   true and correct copy of the foregoing with the Clerk of Court using the CM/ECF
                       4   system and that all counsel of record will be served via the Notice of Electronic
                       5   Filing generated by CM/ECF.
                       6
                       7                                                      /s/ Anthony Pacheco
                                                                                Anthony Pacheco
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VEDDER PRICE (CA), LLP
                                                                                             CERTIFICATE OF SERVICE
    ATTORNEYS AT LAW
      LOS ANGELES
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